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    IO
                                   UNITED STATES DISTRICT COURT
    II                            SOUTHERN DISTRICT OF CALIFORNIA
    12
          FEDERAL TRADE COMMISSION,                                    Case No.: 18-cv-01388-BEN-NLS
                                                                                 [Case No.]
    13

    14                                               Plaintiff,        Appendix of Declarations in Support
          v.                                                           of Plaintiffs Ex Parte Motion for
    15
                                                                       Temporary Restraining Order with
    16    TRIANGLE MEDIA                                               Asset Freeze, Appointment of a
    17    CORPORATION, a Delaware                                      Receiver, Other Equitable Relief, and
          corporation, also doing business as                          Order to Show Cause Why a
    18    Triangle CRM, Phenom Health, Beauty                          Preliminary Injunction Should Not
    19    and Truth, and E-Cigs, et al.,                               Issue
    20
         11-~~~~~~~~~=-==-=-==::.:::..:.J
                                                 Defendants.           (Volume 1 of2)
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       Dated: June 22, 2018
  15
                                                           ALDON F. ABBOTT
  16                                                       General Counsel
  17
  18
                                                           M1f&
                                                           Samantha Gordon
                                                                                  -L
  19                                                       Matthew H. Wernz
                                                           Federal Trade Commission
  20                                                       Midwest Region
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                                       DECLARATION OF JENNIFER CLARK
                                          PURSUANT TO 28 U.S.C. § 1746

                    I, Jennifer Clark, hereby declare as follows:

                     I.    My name is Jeimifcr Clark. l am over eighteen years of age. I have personal

          knowledge of the focts stated in this declaration, and if called as a witness, I could and would

          competently testify to these same facts.

                    2.     On or about March 23, 2017, I was loggc.d into Facebook and saw an

          advertisement for what I assumed was a skin care product. A tme and correct screensho! of that

          ad,·ertisement is attached hereto as Clark Attachment A. I clicked on the "Learn More" button.

                    3.     I was then directed to another webpage containing various endorsements,

          including well,known celebrities. That page indicated that l would only have to pay $4.95 for

          shipping and handling for a free sample of a product called Erase. A true and correct screenshot

          of that website is attached hereto as Clark Art. B. I Clicked on the button that said "Get Your

          Sample Bottle."

                    4.     r was taken to another website. where I was asked for my name and address
          infonnnt(on to receive my trial. A true and c(lrrcct scrccnshot of that website is attached hereto

          as Clark Att. C. l provided this infonnation and clicked on the button that said "Rush My

          Trial."

                    S.     I was then directed to another website that asked me for my credit card

         infom1ation. A true and correct screenshot of that website is attached hereto as Clark Alt. D. I.

          filled out my credit card infonnation and clicked the button tl1at said "Complete Checkout" I

         placed my order with tile understanding that I would only pay $4.95 for shipping and handling

         for a trial ofthe prodµct.




                                                                                                     Pnge 1 of'3




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                   6.       Within a few days, 1 received a package containing two products - a small foil

           sample package of product and another full jar of product labeled "Find Beauty & Tmth Erase

           Repair Hi A."

                  7.        On or around April 7,2017, I was reviewing my credit card statement and saw a

           charge from TENYEARSYOUNGERSK!N for $98.71. A true and correct copy ofmy credit

           card statement is attached hereto as Clark Att. E. I immediately called the customer service

         . number to find out why rhad been charged $98. 71. The automated telephone system connected

          me to a live operator because I had not purchased the product via telephone.

                  8.       I asked the customer service representative what the charge was for and was !Old

          that 1 was charged the full price of the product because 1 did not cancel within the allotted time

          period of 15 days. I was also told that I had been emolled in a continuity program. l told the

          customer service representative that I wanted to cancel the continuity program and also wanted a

          refund for the $98.7!. The representative said that I WOlold be getting a refund lo my credit card

          within 7 days.

                  9.       On or around May 22, 2017, l was reviewing my credit card sta1emem and

          noticed that I had not received a refund. 1 called the customer service number again. This time 1

          got the run around from custonier service. The representative told me that there wa• no account

          in my name because I had cancelled my subscription. Md although !hoy had a 30-day
          "satisfaction guaranteed" policy, I was over that time period. The customer service

          representative would not allow me to talk to a supervisor. When! persisted, the customer service

          representative said that they would have someone call me.

                 I 0.      When I had not received a phone call back by June 14, 2017, I again called

          customer service number. After a similar run. around, !he customer service representative finally



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          offered me a 50% refund, ! responded Urnt 50% was not sufficient. Aller waiting on hold for ten

          more minutes she said she had no authority tp give me anything more than a 50% refund,

                  11.     l finally did receive a 50% refund. However, I am still out of pocket $49.35.

                  I 2.   A\ no point during my purchase did I see a notice that said I would be charged the

          full purchase price of the product if l did not cancel within a certain number days.

                  13,    At no point during my purchase did I see a notice that said I was enrolling in a

          subscription service for the product.

                  14.    I did not authorize anyone to charge my credit curd the full price of the product.

          And t did not authorize anyone to charge my· credit card for a monthly subscription.

          1declarn under penalty of perjury that the foregoing is tn1e and correct.




                                                                                                  P•ge 3 of3




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     Clark AttachITient A




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            Suggested Post

                                                                               -
                      More younger                                       i •• Like Page
                      Sponsored • ~

            For ladies aged 45 +, You have. to try this and you will love this, it only
            takes 2 minutes!




             Never wear make-up again! instead do this
             DO it at home and stop make up

             DHCCARE,COM
                                                                              Learn More


                                                                                      ....
            18 Like       l!jl Comment        ,+Share
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      Clark AttachlTient B




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The sisters launched the products for sale through their company website and say they sold   visible change in my skin, best of all my
out within 5 minutes.                                                                        husband complimented me on my skin after
                                                                                             just 2 weeks/Ill/ He thought I had foundation
"We even made sure we had more product than we thought we could sell, but all of It sold     on, and I dld'nt ltlat Is just fabu/ousl/f/1111"
out within five minutes!" exclaimed samantha.                                                Carol Keeton
                                                                                             Denver, CO
While the Shark Tank investors are toasting to their smart business move, women around
are flocking online to purchase Erase and say the results have been life-changing.           BEFORE & AFrER

Clinical trials of Erase have uncovered that women who used the Erase were able to
drastically reduce the signs of aging and with continued use prevented the signs from
reoccurring.


"Erase ls revolutionizing anti.aging medicine," explained Barbara Corcoran from Shark
Tank.

                                                                                             •1 have been using Erase and I am
CELEBRITIES LOVE Erase                                                                       Incredibly impressed with the results/ My
                                                                                             skin is brighler and it is very apparent that
                                                                                             my skin is more hydrated and dewy.•
                                                                                             Briana Smith
                                                                                             Houston, TX

                                                                                             BEFORE & AFrER




                                                                                             "YESlt Flnaily, I have found a skin care
"Erase is ground-breaking. They are the only company in the world who can effectively        range that wori<s. At 56 year.; aid this Is the
remove the signs of aging in a safe and healthy manner." - Oprah Winfrey                     first time I've had products thatworkfor
                                                                                             me."
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                                                                                            Miami, FL

                                                                                            Special Offer

                                                                                             i!ef' Step 1:
                                                                                             CLICK HERE to Claim Your Free Sample
                                                                                             of Erase




"I've been using Erase as a preventative skincare measure for nwnths and I'm amaV!d
at the change in the condition of my skin. My skin has never felt so healthy or looked so
good!" -MeganMullally
                                                                                                             Free Samples are limited..
                                                                                                      Expires en Thursday.March23, 2017




"I have a hectic schedule and I don't have a lot of time to devote to beauty routines.
That's why I love Erase! Just a few minutes every nwming and night keeps my skin
beautiful and wrinkle-free." - Sandra Bullock
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GIVE YOURSELF THE STAR TREATMENT
For a llmited time anyone can try Erase tor free!


That's right, Erase are giving away samples of their Instant Wrinkle Reduction Cream for
FREE.

The only cost you will Incur Is the discounted shipping rate of $4.95. The cream will then be
delivered straight to your door and ready to use Immediately.

Remember it's important that you use both the Erase to achieve the full anti..aging results.


This offer won't rast for long so make sure you follow the link below to claim your free
sample today before they all run out1



                                                    LIMITED TIME OFFER FOR OUR READERS                                      ~....
                           (FREE SAMPLES RUN OUT DAILY - CLAIM YOURS NOW BEFORE THEY'RE ALL GONE)
IMPORTANT: During clln!cal testing It was proven that you MUST use !Ills product DAILY to achieve simllar results.

 -' Update: Only 2 Samples Still Avallable. Free Sample Promotion Ends: Thursday, March 23, 2017




                                                    @Step !:Free Sample Of Erase




                                                    Take advantage of our exclusive link and pay only $4.95 for shipping!
                                                    This special offer ends: Thursday, March 23, 2017




  Recent 4J Comments                                                             Add a comment
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         Clark Attachment C




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                                                                                                                    Jntemet.Exclusive Offer   ~
                                                                                                             Available to us Residents Only   =


                                                                                                        ERASE/REPAIR HA I YOUR TRIAL BOTTLE            TELL US WHERE TO SEND
                                                                                                                        I
                                                                                                       • 2? HYALURUNIC ANTI-AGING CREAM
                                                                                                                                                      Fam Name:-




                                                                                                       .viSl'BLv I
                                                                                                           YOUNGER                                ·
                                                                                                                                                      last Name:




                                                                                                              LOOKING SKIN

                                                                                                     Brighten Skin's Appearance
                                                                                                                    ..... .,                            Country.

                                                                                                                                                         Phone:
                                                                                                                                                                   United Stares


                                                                                               Restore Your Radiant. Firmer Skin
                                                                                                                   *%it-¥                                 Emaif:
                                                                                             Smooth Look of Stubborn Fine Lines
                                                                                                                 **.,.-:& *




                                                                                                          LIMIT 1 TRIAL PER CUSTOMER
                                                                                                               Don't get left ~ehlnd•
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                                                      Seventy five percent of our skin Is comprised of water and collagen.
=""                                                   Our skin ls exposed to harsh UVA and UVB rad!at/on resulting In age
9                                                     spot;;, fine lines, and wrinkle~ As we age. our bodlf!S produce less

=
ft)


l""I'-
                                                      and less coUagen, leading to the formation of wrinkles and fine lines.
                                                      Most anti-aging products use fragme,nts of hydrolyzed collagen
                                                      cotualnlng molecules mo large for the skin with conventional
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                                                                      ELIMINATES THE LOOK OF DARK CIRCLES
                                                                      Restores nourishment in form of hydration to the
                                                                      under-eye area removing puffiness.


                                                                      REDUCES THE APPEARANCE OF WRINKLES
                                                                      The boost in collagen and elastln helps retain the
                                                                      skin's dermal structure which results in reduction of
.... "'C
                                          ,, ,,
                                                                      the look of fine lines•
     ~
°' ....                                                ........
                                                                  .   ENHANCES SKIN HYDRATION
                                            "''\
                                                                      Actlve ingredients facflttate In trapping moisture which
                                                                      In turn hydrat<!s the sk<n and prevents wrinkles.
                                                   '
                                                       '··",,".       COUNTERS EFFECTS OF STRESS
                                                                      Boosts skin Immunity and prevents damaging


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     (j                                                               effects of free radicals. EHminates debris that
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                                                                      makes sl<in dull and discolored.




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                                                                                                                ERASE/REPAIR                 HA
                                                                                                                 2% HYALURONIC ANTI-AGING CREAM

                                                                                                                 ACHIEVE VISIBLY
                                                                                                                 YOUNGER
                                                                                                                 LOOKING SKIN




           This product has not be-en ewiluatetl by the FDA. n11s prodrn:t Is not !mended m diagnose, t/eat. cure ar prt>11ent any d!sease.
                        Re.suits In description are lllustrattve anrJ may not be typical results and lridlvlr1ua! results may vary
                               Reprtl'senraQons regarding the efficacy and safety of Erase/Repair HA liave not been
                                   sclentlftraHy ~ubsrantiared ar evalt!iited by the Food and Drug Administration,
                                    The deptrtlons: on !Ms page am ffrtltlaus and Jndlcatlve or pote.ntlal results.

                                                  Terms & Conditions I Privacy Po!iC'J I Conti:a Us




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        Clark Attachment D




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           ERASE/REPAIR                     HA
            2l 11\'ALDllUHICAll!hllllll<.CREAI!
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                                                                            9        ';;,~
                                                                                                                                        m5 Jnternet Exclusive: Offer
                                                                                                                                        =         Avallable to US Re~ldents Only
                                                          SHIPPING INFO                     FINISH ORDER
 ; ___ _
                                                                                                                                    :         -           ----
                             8               13 others are viewing this offer right now -
                                                                                                                                    !             FINAL STEP
                                                                                                                                         PAYMENT INFORMATION
           Great Joi> Eden Clark! You're taking your first step towards a better skin.
           Act now so you don't miss out on this offer!
                                                                                                                                                                                         f
           Currenr Availability: ~-=---       -- LOW STOCK! Selk>ut Risk: HIGH
           Just pay a small shipping fee. Enjoy expedited dertvery to Meridian~ US.                                                                                                      t
           Vour order is scheduled to arrive by Mar 25, 2017.
                                                                                                                                                                                         l'
                                                                                                                                               IS your bi!Ghgarldressthe same
                                                                                                                                                  as:your shipping address?
                                                                                                                                                                                         r
                                                                                                                                                                                         !
                                                               ERASE/REPAIR HA                                                                           0 Yes: ,·"",No                  '
                                                              2% Hyaluronic Acld, Anti~Aging Cream
                                                              30ML-30 Day Supply

                                                               Price                                                        SO.OD
                                                                                                                                        Credit Card #:

                                                                                                                                           Card Type:.
                                                                                                                                                         l
                                                                                                                                                         ~-------'
                                                                                                                                                             visa
                                                                                                                                                                                         I
                                                              Shipping & Handling                                           $4.95        Expiry Date:        J~~J~}.    -;   2017
                                                                                                                                                                                     ,, I:
                                                                                                                                                                                     '

                                                                                                                                                                                         't
                                                              Total                                                         $4.95

                                                               f!il! Yes, add Protect Package for $2.95 to my order.
                                                                                                                                                  ON:
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             CONFIRM YOUR EXCLUSIVE TRIAL NOW!
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                                                                LIMITED QUANTITIES AVA1LA8LE
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           Concmcr.s. Your order will ship 'Hltlllfl 24 hus.ln~ hn>.J!'5 i'lf!d we'r-e ::c!'1ftdi;r« yo1: w1li In.re your
           younger !coking ~km.
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        Clark Attachment E




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                             DECLARATION OF THERESA FABBRICANTE
                                  PURSUANT TO 28 U.S.C. § 1746

               T, Theresa Fabbricante, hereby declare as follows:

               I.      My name is Theresa Fabbricante. ram ninety years of age. I have personal

       knowledge of the facts stated in this declaration, and if called as a witness, 1 could and would

       competently testify to these same facts.

               2.     On or around Nov 15, 2015, I saw an advertisement on a website for skin care

       products. The advertisement stated that I could get a trial sample if I paid only shipping and

       handling. I ordered the product and gave my name, address, and credit card number. The

       product arrived some time later.

              3.      On or around Nov 30, 2015, I called a number included in the product package to

       ask about returning the product and cancelling the order. I wanted to cancel the order and return

       the product immediately after seeing in small print that I had been enrolled in a subscription

       instead of a one-time trial offer. I received a cancellation confirmation stating that I would not be

      charged if they received the product by December 15, 2015, and that if they did not receive the

      product back by that date I would be charged $79.95. A true <md correct copy of the cancellation

      confirmation is attached hereto as Fabbricante Attachment A.

              4.      l sent the product back via priority mail the same day, November 30, 20 I5, to the

      address on the cancellation confirmation, Erase Repair Returns, 14603 East Moncrieff Place, Ste.

      I 00, Aurora, CO 80011.

              5.      Due to a fracture in my C-2 ve1tebrae, I was not able to review my annual credit

      card statement until January 16, 2016. Upon my review, r saw that there were three charges:

                      I.   11/15115 FOM*LOOKOFBEAUTY,CA                             $2.95

                      ii. llfl 5/15   TRULY-BEAUTY,                                 $4,95


                                                       PX2
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                      iii.       J 1/30/15   TRULY-BEAUTY,.                         $96.71

       A true and correct copy of my credit card statement is attached hereto as Fabbricante

       Attachment B.

              6.      I was shocked to see that I had been charged $96.71 on the same day that J had

       called to return the product.

              7.      On either January 16' or January 17, 2016, I called the company and 3pokc with

       two different representatives. They told me that l would receive a 50% refond now and the

       remaining 50% refund when the warehouse informed them that it received the product.

              8.      On or around Jan 17, 2016, I received a refund in amount of$49.35, It shows up

       incorrectly on my credit card statement as having been credited on November 30, 2015.

              9.      On or around February 12, 20 I 6, when I still had not received the second halfof

      the refund, l sent a complaint letter to the Colorado Better Business Bureau ("BBB"). A true and

      correct copy of my complaint is attached hereto as Fabbricante Attachment C.

              l 0.    On or around March 2, 2016, and only with the BBB 's intervention, I finally

      received the second half of my refund in the amount of$49.36. Again, it shows up inconectly

      on my credit card statement as having been credited on November 30, 2015.

              [declare under penalty of perjury that the foregoing is true and correct.




      Executed on     ID )T/ojol? 2017.
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      Fabbricante AttachITient
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                               DECLARATION OF SUSAN LANDREAU
                                  PURSUANT TO 28 U.S.C. § 1746

             I, Susan Landreau, hereby declare as follows:

             I.     My name is Susan Landreau. I am over eighteen years of age. I have personal

     knowledge of the facts stated in this declaration, and if called as a witness, I could and would

     competently testify to these same facts.

            2.      On or about December 17, 2017, I was browsing Facebook on my cell phone and

     saw an advertisement for a product called Nature Renew Cleaose that claimed to help with

     weight loss. The advertisement indicated that I would only have to pay $4.95 for shipping and

    handling. I clicked on the advertisement.

            3.      I was taken to a website ~here I was asked for my contact and payment

    infortnation to receive my trial. I filled out this information and placed my order for the Nature

    Renew Cleanse with the understanding that I would only pay $4.95 for shipping and handling.

            4.      Before placing my order, I did not see any disclaimer stating that I would be

    charged any amount in addition to the $4.95 shipping. Instead, I understood that I would pay

    $4.95 for a one-time shipment of Nature Renew Cleanse.

            5.      I did not receive the product until well after Christmas Day, on December 25,

    2017. On January 1, 2018, I opened the package and saw that I received two products - Nature

    Renew Cleanse and Ultra Pur Forskolin. I was surprised to see the Ultra Pur Forskolin included

    in the shipment because I did not order it. A packing slip inside the package stated that I had 15

    days to cancel or I would be charged the full price for each product around $82.00. A true and

    correct copy of the packing slip is attached hereto as Landreau Attachment A. This was the

    first time that I realized that I would be charged the full price amount in addition to the shipping

    and handling charge mentioned online.


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            6.     On or about January 1, 2018, I checked my credit card statement and saw that I

     had already been charged $4.95, $6.95, $2.95, and $82.00. A t1ue and correct copy of the credit

     card statement is attached hereto as Landrcau Att. B.

            7.     I was surprised by the last three of these charges, none of which were disclosed to

    me when I submitted my order Online. I immediately called the telephone number on the

    packing slip in the box in which I received Nature Renew Cleanse and Ultra Pur Forskolin. I

    spoke with a representative ofNature Renew. The Nature Renew representative told me that the

    website where I ordered the product disclosed all the information relating to cancellation.

            8.     I told the representative that I had seen nothing on Nature Renew's website about

    any charges other than the $4.95 shipping and handling charge and I said that I had been charged

    the $82.00 even before the 15 days expired. The representative maintained that all of the tenns

    and conditions were disclosed on the websiti;: and also claimed that the 15-day period began on

    the day I ordered the product. Nevertheless, the representative agreed to refund half of the

    $82.00 immediately and then the other half upon receipt of the product. The representative also

    agreed to cancel any future shipments of the products I received.

           9.      I was still frustrated that they would claim to have a 15-daytrial period but it was

    not disclosed to me that the trial period began on the day the order was placed. By the time I

    received the order, the supposed 15-day period was really 6 or fewer days.

           10.     After my call with the representative, I received an email, dated January 1, 2018.

    This email, from supportCiVnaturcrenewonline.com, provided a return merchandize authorization

    number and instructed that I return the Nature Renew Cleanse to: Nature Renew Cleanse

    Returns, 12924 Pierce Street, Pacoima, CA 91331. A tru<: and coITect copy of that email is

    attached as Landreau Att. C.



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            11.     On or about January 2, 2018, I received four more emails related to this

     cancellation. One email, from support@naturercnewonline.com, again provided me with a

     return merchandize authorization and instructed that I return the products to: Nature Renew

     Cleanse Returns, 12924 Pierce Street, Pacoima, CA 91331. A true and correct copy of that email

     is attached as Landreau Att. D. A second email, from support@phenomhealth.com, provided

    me with a return merchandize authorization for UltraPur Forskolin and instructed that I return the

    products to: Phenom Health Returns, 12924 Pierce Street, Pacoima, CA 91331. A true and

    correct copy of that email is attached as Landreau Att. E. A third email, from

    support@naturerenewonline.com, coll.firmed my cancellation of any future shipments of Nature

    Renew Cleanse. A true and correct copy of that email is attached as Landreau Att. F. The

    fourth email, from support@phenomhealth.com, confirmed my cancellation of any future

    shipments ofUJtraPur Forskolin. A true and correct copy of that email is attached as Laqdreau

    Att. G. I continued to call the customer service number listed on the confirmation email

    multiple times attempting to get a refund for the $6.95 shipping and handling for the second

    product I did not order and the $2.95 package protection fee, but the company's representatives

    .repeatedly told me-that shipping charges are not refundable.

            12.    I shipped the products back on or about January 3, 2018 at my own expense,

    which was $3.80.

           13.     I still wanted to get a refund of the $6.95 shipping and handling for the second

    product I did not order and the $2. 95 package protection fee. I also was concerned that this

    company was not upfront in what it tells consumers about when and how much they will be

    charged. So, also on or about January 3, 2018, I filed a complaint with the Better Business

    Bureau about Nature Renew.



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             14.    On or about January 4, 2018, I received a response from the Better Business

     Bureau, forwarding the company's response to my complaint. The company claimed that I had

     agreed to all of the charges in ordering the original trial. A true and correct copy of this response

     is attached as Landreau Att. H.

            15.     On or about January 11, 2018, I received three emails stating that I had been

     issued refunds in the amounts of$42.36, $42.35, and $2.95. A true and correct copy of these

     refund confirmations are attached as Landreau Att. I.

            16.     I never received a refund for the $6.95 shipping and handling for the second

    product I did not order.



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                                                   Susan Landreau




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     Landreau Attachment A




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      Landreau Attachment C




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      Subject:Return Merchandise Authorization
         Date:2018-01-01 20:59
        From:"Nature Renew" <support@naturerenewonline.com>
           To:"Susan Landreau"




                       RETURN MERCHANDISE AUTHORIZATION


        Hello Susan,

        Here is the RMA (return merchandise authorization) number you requested:
        CS3HQJ.

        Your return must be accompanied by this RMA number, as well as the packing
        slip that was included with your order.

        Including the correct packing slip ensures you will receive your refund or
        exchange.

        If you do not have the packing slip, please be sure to write the RMA and your
        name and address very clearly on the package.

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                       ( ) Document 5-1 Filed 06/25/18( PageID.170 Page 41 of 158

                                       Mail to:
                            Nature Renew Cleanse Returns
                                 12924 Pierce Street
                                 Pacoima, CA 91331




           Customer Service: 1-877-839-9343, Mon to Fri 5am-5pm PST and Sat
               8am-4pm. Or, email us at support@naturerenewonline.com




                                       Sincerely,
                                     Phenom Health




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      Landreau Attachtnent D




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                       (   Document 5-1 Filed 06/25/18 PageID.172 Page 43 of 158




     Subject:Return Merchandise Authorization
        Date:2018-01-02 10: 10
        From:"Nature Renew" <su
           To:"Susan Landreau"




                       RETURN MERCHANDISE AUTHORIZATION


        Hello Susan,

        Here is the RMA (return merchandise authorization) number you requested:
        SKGHFK.

        Your return must be accompanied by this RMA number, as well as the packing
        slip that was included with your order.

        Including the correct packing slip ensures you will receive your refund or
        exchange.

        If you do not have the packing slip, please be sure to write the RMA and your
        name and address very clearly on the package.

                                              PX3                        Landreau Att. D
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                       ( ) Document 5-1 Filed 06/25/18( PageID.173 Page 44 of 158

                                       Mail to:
                            Nature Renew Cleanse Returns
                                 12924 Pierce Street
                                 Pacoima, CA 91331




           Customer Service: 1-877-839-9343, Mon to Fri 5am-5pm PST and Sat
               8am-4pm. Or, email us at support@naturerenewonline.com




                                       Sincerely,
                                     Phenom Health




                                        PX3                      Landreau Att. D
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     Landreau Attachtnent E




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                       ( ! Document 5-1 Filed 06/25/18 PageID.175 Page 46 of 158




         Subject:RMA Number
           Date:2018-01-02 10:09

              To:"Susan Landreau"




                          RETURN MERCHANDISE AUTHORIZATION


           Hello Susan,

           Here is the RMA (return merchandise authorization) number you requested:
           GZ5NU2.


           Your return must be accompanied by this RMA number, as well as the packing
           slip that was included with your order.

           Including the correct packing slip ensures you will receive your refund or
           exchange.

           If you do not have the packing slip, please be sure to write the RMA and your
           name and address very clearly on the package.



                                                Mail to:



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                       (   Document 5-1 Filed 06/25/18 ( PageID.176 Page 47 of 158

                                   Phenom Health Returns
                                      12924 Pierce Street
                                      Pacoima, CA 91331




             Customer Service: 1-888-314-6717, Mon to Fri 5am-5pm PST and Sat
                   8am-4pm. Or, email us at support@phenomhealth.com




                                              Sincerely,
                                            Phenom Health




                           Rewards Program Customer Service: 1-888-314-6717
                             5am - 5pm PST Mon-Fri and Sat Barn - 4pm PST
                                  Email: support@phenomhealth.com
                                       www.phenomhealth.com




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      Landreau Attachlllent F




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                           Document 5-1 Filed 06/25/18 PageID.178 Page 49 of 158




         Subject:Cancellation Confirmation
           Date:201s-01-02 11:06
           From:"Nature Renew" <su
              To:"Susan Landreau"




                               CANCELLATION CONFIRMATION


           Hello Susan,

           This email confirms the cancellation of your Nature Renew Cleanse refill
           subscription. For your records, your cancellation code is: mHsuxL.


           We're sorry to see you go! Weight loss and a healthy diet can work wonders
           for your energy level, self-confidence and overall well-being. If you change
           your mind, or would like to order products individually without a subscription,
           please don't hesitate to call!




                          Call us toll-free at 1-877-839-9343, or email us at
                                 support@naturerenewonline.com.



                                                PX3                             Landreau Att. F
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Case 3:18-cv-01388-LAB-WVG                                ()
                        ( ) Document 5-1 Filed 06/25/18 PageID.179 Page 50 of 158
             Customer Service Hours: Mon to Fri 5am-5pm PST and Sat 8am-4pm.




                                         Sincerely,
                                       Phenom Health




                                         PX3                      Landreau Att. F
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                        ( ) Document 5-1 Filed 06/25/18 ( PageID.180
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     Landreau Attachment G




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        Subject:Cancellation Confirmation
           Date:2018-01-02 11:07

              To:"Susan Landreau"




                               CANCELLATION CONFIRMATION


           Hello Susan,

          This email confirms the cancellation of your UltraPur Forskolin product delivery
           subscription. For your records, your cancellation code is: kESD7R.


          We're sorry to see you go! If you change your mind, or would like to order
           products individually without a subscription, please don't hesitate to call!




                           Call us toll-free at 1-888-314-6717, email us at
                                   support@phenomhealth.com.
             Customer Service Hours: Mon to Fri 5am-5pm PST and Sat 8am-4pm.




                                                  PX3                             Landreau Att. G
                                                    52
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                                                        )         Page 53 of 158



                                      Sincerely,
                                    Phenom Health




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     Landreau Attachment H




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        Subject:Better Business Complaint Response
              Date:2018-01-04 13:35
             From:Adam Chouinard <AChouinard@denver.bbb.or
                To:"srlandreau@ctvea.net'


        Hello Susan,



        Please see the below attached business response and reply directly to this email with your
        response.



        Thank you for reaching out to me.




        Date Sent: 1/4/2018 11:23:34 AM


        This customer placed her order on December 17. She was billed on January 1, which is exactly what it is supposed to be.. a 15-day
        trial period.


        Here are the membership terms and conditions she agreed to when she placed her order:

        Membership Terms and Conditions: If I enrol in the membership program I am agreeing to be charged for S&H today and $84.71
        for my product in 14 days unless I cancel. 10-day trial begins after product is received. Allow 4 business days for shipping through
        USPS. I will receive a full-size bottle of UltraPur Forskolin product for $84.71 (S&H Included) every 30 days thereafter until I cancel.
        My credit card will be billed and my shipment will be sent automatically at those times. Shipments will continue until I call to cancel
        my membership at +1-888-314-6717 or by emailing support@phenomhealth.com, open 8am -8pm EST Monday- Friday, 8am-
        7pm EST Saturday. Refunds may be made within 30 days of order upon returning your product. You may cancel your membership
        at any time. Shipping and handling is non-refundable. By accepting this trial offer you are agreeing the Terms & Conditions. By
        clicking to order I represent that 1 have read and agree to the Privacy Policy and full Terms and Conditions of this offer and I
        understand that I will be liable for payment of product that was shipped to me, and future shipments of product, if I fail to notify
        customer service to stop supplying the product to me.




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       Refund Policy:
       I understand that if I am not fully satisfied with my products I may cancel my order at any time by calling customer service and
       returning any unused, unopened Product to our warehouse. All returns must be within 30 days of original purchase (excluding trial
       product). Shipping and handling charges are non-refundable

       This customer has already contacted us and arranged to return her unwanted item. She has been issued a 50% refund for the
       merchandise, and the remainder will be automatically refunded when her return is received. Her account is already cancelled, so
       there will be no further charges or shipments.




       Adam Chouinard I Dispute Resolution Coordinator
       Better Business Bureau Serving Denver/Boulder
       3801 E. Florida Ave Suite 350
       Denver,Colorado 80210

       (P)303.996.3964
       (F)303.577.8133
       AChouinard@denver.bbb.org

       hblLillg: Start With Trust®

       Always use a BBB Accredited Business for the Trust and Integrity you Deserve




       Follow us:   Cl 11ml II Ci}
       This message is a private communication, and it may contain confidential and/or privileged information. If
       you have received this message by mistake, please notify the sender by reply email and then delete the
       message from your system without printing, copying or forwarding it. Thank you.




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      Landreau Attachtnent I




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                                                                     (




        Subject:Refund Confirmation
          Date:201s-01-11 09:50
          From:"ProtectPackage" <su
             To:"Susan Landreau"




                                   REFUND CONFIRMATION


          Hello Susan,

          This email is to inform you that a refund for $2.95 was processed to your
          Mastercard ending in • .

          Please be advised that although the refund is completely processed on our
          end, it may take 5-10 business days for your bank to process and for the funds
          to be visible in your account.




            If you have any further questions, please don't hesitate to contact us
               again. Toll-Free Customer Service: 1-844-230-6673 or email us at
                                  support@protectpackage.com




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                        (                               )  (
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                                       Sincerely,
                                The ProtectPackage Team.




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        Subject:Refund Confirmation
           Date:2018-01-11 09:51
          From:"UltraPur Forskolin" <sho
             To:"Susan Landreau"




                                   REFUND CONFIRMATION


          Hello Susan,

          This email is to inform you that a refund for $42.35 was processed to your
          Mastercard ending i n • ·

          Please be advised that although the refund is completely processed on our
          end, it may take 5-10 business days for your bank to process and for the funds
          to be visible in your account.




             Customer Service: 1-888-314-6717, Mon to Fri 5am-5pm PST and Sat
                    8am-4pm. Or, email us at support@phenomhealth.com




                                             Sincerely,



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                                    Phenom Health




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     Subject:Refund Confirmation
        Date:2018-01-11 09:48
       From:"UltraPur Forskolin" <sho
         To:"Susan Landreau"




                                REFUND CONFIRMATION


       Hello Susan,

       This email is to inform you that a refund for $42.36 was processed to your
       Mastercard ending i n • ·

       Please be advised that although the refund is completely processed on our
       end, it may take 5-10 business days for your bank to process and for the funds
       to be visible in your account.




          Customer Service: 1-888-314-6717, Mon to Fri 5am-5pm PST and Sat
                 8am-4pm. Or, email us at support@phenomhealth.com




                                          Sincerely,




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                                     Phenom Health




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                             ( )                                         \



                              '.DECLARATION OF NANCY LAWHORN
                                   PURSUANT TO 28 U.S.C. § 1746

             I, Nancy Lawhorn, hereby declare as follows:

             1.     My name is Nancy Lawhorn. J am over eighteen years of age. I have personal

     knowledge of the facts stated in this declaration, and if called as a witness, I could and would

     competently testify to these same facts.

            2.      On or about November 3., 2017, I was on my computer (Incl saw an adve1tisement

     for a product called Cerebral X that claimed to enhance brain function. I clicked on the

     advcttisement, and was sent to another adve1ti.sement indicating that I would only have to pay

     $4.95 for shipping and handling. I clicked on this second advertisement as well.

            3.      I was taken to a website where I was asked for my payment and address

     information to receive my trial. I filled out this information and placed my order for the Cerebral

     X with the understanding that I would only pay $4.95, which, the website represented, was the

     charge for shipping and handling.

            4.      Prior to placing my order I did not see any disclaimer stating that I would be

    charged any amount in addition to the $4.95 shipping and handling.

            5.      I received an order confirmation email shortly after my purchase. The order

    confinnation showed that I had purchased two products Cerebral X and Vitamood+. This

    surprised me because I did not order Vitamood+. The order confirmation also said that I would

    be charged the foll price, $84.71, for the Cerebral X on the fifteenth clay if! did not call and

    cancel and that I would receive a bottle every month for $84. 71 every thirty days thereafter until

    I canceled.

            6.     I immediately responded to the confinnation email by sending an email to

    support@phenomhealtl1.com explaining that I only ordered Cerebral X and to remove any


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     additional charges from my credit card. A true and correct copy of my email is attached hereto

     as Lawnhorn Attachment A.

               7.    A couple of days later I was reviewing my credit card statement ru1d saw that I

    had been charged the $4. 95 shipping and handling fee that I had agreed to, and that I had also

    been charged an additional $6.95 that l did not agree to.

              8.     I called the customer service number on the confimiation email nniltiple times in

    order to get ail answer as to why I was charged an additional $6.95 shipping and handling fee

    and to get a refund for the additional $6.95, but the Phenom Health representatives repeatedly

    told me that shipping charges are not refundable.

              9.     On November 8, 2017, I submitted a complaint to the Federal Trade Commission

    regarding Phenom Health's deceptive billing practices. On that same day, I sent another email to

    support@phenomhealth.com, informing them of the complaint I sent to the Federal Trade

    Commission. A true and correct copy of my email is attached hereto as Lawhorn Attachment

    B.

              10.    Again, Phenorn Health customer service responded that shipping and handling

    fees are non-refundable. A trne and cotTect copy of Phenom Health's email is attached hereto as

    Lawhorn Attachment C. Phenom Health did not respond to my question as to why 1had been

    charged an additional shipping and handling fee in the first place. I responded that they did not

    ru1swer my question about why they billed me for shipping and handling on a product I did not

    order and said that I would be returning both bottles and repo11ing them to the Better Business

    Bureau.

              l l.   Two days later, on November I 0, 2017, [sent another email asking Phenom

    Health how many days I had to try the products, whether my cancellation of the order meant that



                                                                                             Page 2 of3
                                                    PX4
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     I would not be billed for either, whether I needed to return hoth bottles of product, and

     confi1111ing that I would only be charged for shipping, A true and correct copy of my email is

     attached hereto as Lawhorn Attachment D. I did not receive a response from Phenom Health.

            12.     Having not received a response to my November I 0, 2017, email, I sent another

    email on November 12, 2017. A true and correct copy of my email is attached hereto as

    Lawhorn Attachment E. I did not receive a response to this email.

            13.     On November t 7, 2017, I tried emailing Phenom Health for a third time. A trne

    and correct copy of my email is attached hereto as Lawhorn Attachment F. I did not receive a

    response to this email.

            14.     I believe that this company's tactics are very misleading. It was my

    understanding that I was paying $4.95 for a trial of one product. l did not order a second product

    and I did not agree to pay $6.95 shipping and handling for a second product.

            t 5.   And while I was aware that this was a trial, I felt that there was not sufficient

    information about the dates on which the trial began and ended and when I had to cancel the trial

    in order not to be charged full price for the product. When I tried to get more infmmation, I

    could not get a response from Phenom Health.



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      Lawhorn Attachtnent A




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      From: Nancy Lawhorn
      Sent: Friday, November 3, 2017 2:13 PM
     To: 'support@phenomhealth.com' <support@phenomhealth.com>
     Subject: Didn't order

      I only ordered Cerebral X for $4.95. Please remove any additional charges from the card I used to
      purchase. Thank you, Nancy Lawhorn




                                                    PX4                               Lawhorn Att. A
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      Lawhorn AttachlTient B




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      From: Nancy Lawhorn
      Sent: Wednesday, November 8, 2017 8:04 AM
      To: 'support@phenomhealth.com' <support@phenomhealth.com>
      Subject: Re: Unauthorized charges

      This is a complaint that I have sent to The Federal Trade Commission regarding your company:


      The following is a receipt that I received for Cerebral X for shipping charges totaling $4.95. This
      company has charged an additional charge of $6.95 to my charge card for shipping on another
      product which I did not order. I have spoken with customer service 3 times now. They continually
      repeat "I'm so sorry to hear that, shipping charges are not refundable." They sound like robots. I
      think this is a scam and will return both bottles, unopened, which have been shipped to me per
      emails that I have received. I think you may want to know about this company's billing practices. An
      extra $6.95 from each customer adds up to a lot of extra money for this company. I will file a
      complaint with my charge card also as I am not getting anywhere at all with this company. Thank
      you in advance for your help!




      We hope you enjoy the benefits of Cerebral X. Your order is scheduled to arrive by Nov 05, 2017



      product image



      ORDER RECEIPT



      Order placed: Nov 03, 2017



      Total: $4.95




      Cerebral X $0.00
      Vita Mood + $0.00
      Shipping & Handling: $4.95
      Total $4.95
                                                        PX4                                  Lawhorn Att. B
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      Terms & Conditions
      Privacy Policy
      Contact Us


      2017 © Cerebral X US


      By placing an order you will be enrolled in our membership program. This program will charge$ 4.95
      today and$ 84.71 for your trial full-size product on the 15th day if you do not call to cancel the
      membership. You will receive a full-size bottle of the product for$ 84.71 (S&H included) every 30
      days thereafter until you cancel. You can cancel or modify your membership anytime by calling+ 1·
      888-963-8460, Open 24 hours a day, 7 days a week. Product ships in 1-3 business days.




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      Lawhorn Attachtnent C




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      From: Nancy Lawhorn
      Sent: Wednesday, November 8, 2017 8:23 AM
      To: 'support@phenomhealth.com' <support@phenomhealth.com>
      Subject: RE: Re: Unauthorized charges

      CAN YOU UNDERSTAND ENGLISH??? WHAT DON'T YOU UNDERSTAND WHEN I SAY THAT YOU CAN
      NOT CHARGE SHIPPING ON SOMETHING THAT I DID NOT ORDER. YOUR EMAIL RESPONSE MAKES
      NO SENSE!!! DID YOU READ YOUR RECEIPT ($4.95 ONLY). l'M RETURNING BOTH BOTILES AND
      REPORTING IT TO THE BEDER BUSINESS BUREAU. I WILL ALSO GIVE YOU A VERY BAD HONEST
      REVIEW OF MY EXPERIENCE WITH YOUR SCAM!


      From: supoort@phenomhealth.com [mailto:support@phenomhealth.com]
      Sent: Wednesday, November 8, 2017 7:58 AM
      To:
      Subject: RE: Re: Unauthorized charges


      Hello Ms. Lawhorn,

      Thank you for keeping in touch with us.

      We apologize for this inconvenience and we fully understand where you are coming from,
      but the shipping and handling fees are non-refundable.

      A risk-free trial offer allows you to try the product before buying it. Usually with these types
      of offers, you pay for the shipping charge, and have an agreed-upon number of days to try
      the product in your own home. You are then charged for the product, if you have not
      contacted the company before the trial's expiration date. "Trials" and "Risk-Free Trials" do
      not mean a "free product", and the sites we service do not advertise as such.

      If you have any other questions, please do not hesitate to contact us by calling us to our
      customer service telephone number or replying to this email message.

      Kind regards,

      Jenelou J.

      Phenom Health - Main Site

      Customer Service: +1-855-726-6311

      support@phenomhealth.com




                                                    PX4                              Lawhorn Att. C
                                                     73
Case 3:18-cv-01388-LAB-WVG
                       ( ) Document 5-1 Filed 06/25/18 PageID.203
                                                        )              (
                                                                  Page 74 of 158

      From:

      Sent: 11/8/2017 9:03 PM

      To: support@phenomhealth.com

      Subject: Re: Unauthorized charges

      This is a complaint that I have sent to The Federal Trade Commission regarding your
      company:

      The following is a receipt that I received for Cerebral X for shipping charges totaling $4.95.
      This company has charged an additional charge of $6.95 to my charge card for shipping on
      another product which I did not order. I have spoken with customer service 3 times now.
      They continually repeat "I'm so sorry to hear that, shipping charges are not refundable."
      They sound like robots. I think this is a scam and will return both bottles, unopened, which
      have been shipped to me per emails that I have received. I think you may want to know
      about this company's billing practices. An extra $6.95 from each customer adds up to a lot
      of extra money for this company. I will file a complaint with my charge card also as I am
      not getting anywhere at all with this company. Thank you in advance for your help!

      We hope you enjoy the benefits of Cerebral X. Your order is scheduled to arrive by Nov 05,
      2017

      product image

      ORDER RECEIPT

      Order placed: Nov 03, 2017

      Total: $4.95



      Cerebral X $0.00

      Vita Mood + $0.00

      Shipping & Handling: $4.95

      Total $4.95

      Terms & Conditions

      P_rivacy Policy

      Contact Us

      2017 ©Cerebral X US

      By placing an order you will be enrolled in our membership program. This program will
      charge$ 4.95 today and$ 84.71 for your trial full-size product on the 15th day if you do
      not call to cancel the membership. You will receive a full-size bottle of the product for$
      84. 71 (S&H included) every 30 days thereafter until you cancel. You can cancel or modify
      your membership anytime by calling +1-888-963-8460, Open 24 hours a day, 7 days a
      week. Product ships in 1-3 business days.

                                                  PX4                             Lawhorn Att. C
                                                    74
Case 3:18-cv-01388-LAB-WVG
                       (   Document 5-1 Filed 06/25/18 I( PageID.204
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                                                                     Page 75 of 158




      Lawhorn Attachtnent D




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                                        75
Case 3:18-cv-01388-LAB-WVG
                        ( ) Document 5-1 Filed 06/25/18 PageID.205
                                                         )         Page 76 of 158
                                                                               (




      From: Nancy Lawhorn
      Sent: Friday, November 10, 2017 6:18 AM
      To: 'support@phenomhealth.com' <support@phenomhealth.com>
      Subject: RE: Re: Unauthorized charges

      What is the number of days that I have supposedly agreed to? Does my canceling of Cerebal X &
      VitaMood assure that I will not be billed for either? I only pay shipping, right?? Do I need to return
      both bottles?? Today is my second day of taking. I feel no difference. They did cause me to feel
      very nauseous.

      From: support@phenombealth com [majlto·support@phenomhealth com]
      Sent: Wednesday, November 8, 2017 7:58 AM
      To
      Subject: RE: Re: Unauthorized charges



      Hello Ms. Lawhorn,

      Thank you for keeping in touch with us.

      We apologize for this inconvenience and we fully understand where you are coming from,
      but the shipping and handling fees are non-refundable.

      A risk-free trial offer allows you to try the product before buying it. Usually with these types
      of offers, you pay for the shipping charge, and have an agreed-upon number of days to try
      the product in your own home. You are then charged for the product, if you have not
      contacted the company before the trial's expiration date. "Trials" and "Risk-Free Trials" do
      not mean a "free product", and the sites we service do not advertise as such.

      If you have any other questions, please do not hesitate to contact us by calling us to our
      customer service telephone number or replying to this email message.

      Kind regards,

      Jenelou J.

      Phenom Health - Main Site

      Customer Service: +1-855-726-6311

      support@ohenom hea Ith .com



      From:
                                                       PX4                                 Lawhorn Att. D
                                                         76
Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18 PageID.206
                                                        )         Page 77 of 158
                                                                       (
      Sent: 11/8/2017 9:03 PM

      To: support@phenomhealth.com

      Subject: Re: Unauthorized charges

      This is a complaint that I have sent to The Federal Trade Commission regarding your
      company:

      The following is a receipt that I received for Cerebral X for shipping charges totaling $4.95.
      This company has charged an additional charge of $6.95 to my charge card for shipping on
      another product which I did not order. I have spoken with customer service 3 times now.
      They continually repeat "I'm so sorry to hear that, shipping charges are not refundable."
      They sound like robots. I think this is a scam and will return both bottles, unopened, which
      have been shipped to me per emails that I have received. I think you may want to know
      about this company's billing practices. An extra $6.95 from each customer adds up to a lot
      of extra money for this company. I will file a complaint with my charge card also as I am
      not getting anywhere at all with this company. Thank you in advance for your help!

      We hope you enjoy the benefits of Cerebral X. Your order is scheduled to arrive by Nov 05,
      2017

      product image

      ORDER RECEIPT

      Order placed: Nov 03, 2017

      Total: $4.95



      Cerebral X $0.00

      Vita Mood + $0.00

      Shipping & Handling: $4.95

      Total $4.95

      Terms & Conditions

      Privacy Policy

      Contact Us

      2017 © Cerebral X US

      By placing an order you will be enrolled in our membership program. This program will
      charge $ 4.95 today and $ 84. 71 for your trial full-size product on the 15th day if you do
      not call to cancel the membership. You will receive a full-size bottle of the product for$
      84.71 (S&H included) every 30 days thereafter until you cancel. You can cancel or modify
      your membership anytime by calling +1-888-963-8460, Open 24 hours a day, 7 days a
      week. Product ships in 1-3 business days.


                                                  PX4                             Lawhorn Att. D
                                                    77
Case 3:18-cv-01388-LAB-WVG
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      Lawhorn Attachment E




                                       PX4
                                        78
Case 3:18-cv-01388-LAB-WVG
                       (   Document 5-1 Filed 06/25/18 ( PageID.208 Page 79 of 158




     From: Nancy Lawhorn
     Sent: Sunday, November 12, 2017 7:18 AM
     To: 'support@phenomhealth.com' <support@phenomhealth.com>
     Subject: FW: Re: Unauthorized charges


     2nd request.


     From: Nancy Lawhorn
     Sent: Friday, November 10, 2017 6:18 AM
     To: 'support@phenomhealth.com' <support@phenomhealth.com>
     Subject: RE: Re: Unauthorized charges

     What is the number of days that I have supposedly agreed to? Does my canceling of Cerebal X &
     Vita Mood assure that I will not be billed for either? I only pay shipping, right?? Do I need to return
     both bottles?? Today is my second day of taking. I feel no difference. They did cause me to feel
     very nauseous.


     From: support@phenomhealth.com [mailto:support@phenomhealth.com]
     Sent: Wednesday, November 8, 2017 7:58 AM
     To:
     Subject: RE: Re: Unauthorized charges


     Hello Ms. Lawhorn,

     Thank you for keeping in touch with us.

     We apologize for this inconvenience and we fully understand where you are coming from,
     but the shipping and handling fees are non-refundable.

     A risk-free trial offer allows you to try the product before buying it. Usually with these types
     of offers, you pay for the shipping charge, and have an agreed-upon number of days to try
     the product in your own home. You are then charged for the product, if you have not
     contacted the company before the trial's expiration date. "Trials" and "Risk-Free Trials" do
     not mean a "free product", and the sites we service do not advertise as such.

     If you have any other questions, please do not hesitate to contact us by calling us to our
     customer service telephone number or replying to this email message.

     Kind regards,

     Jenelou J.

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                       (   Document 5-1 Filed 06/25/18 ( PageID.209 Page 80 of 158

      Phenom Health - Main Site

      Customer Service: +1-855-726-6311

      su DROrt@phenom health. com



      From:

      Sent: 11/8/2017 9:03 PM

      To: support@phenomhealth.com

      Subject: Re: Unauthorized charges

      This is a complaint that I have sent to The Federal Trade Commission regarding your
      company:

      The following is a receipt that I received for Cerebral X for shipping charges totaling $4.95.
      This company has charged an additional charge of $6.95 to my charge card for shipping on
      another product which I did not order. I have spoken with customer service 3 times now.
      They continually repeat "I'm so sorry to hear that, shipping charges are not refundable."
      They sound like robots. I think this is a scam and will return both bottles, unopened, which
      have been shipped to me per emails that I have received. I think you may want to know
      about this company's billing practices. An extra $6.95 from each customer adds up to a lot
      of extra money for this company. I will file a complaint with my charge card also as I am
      not getting anywhere at all with this company. Thank you in advance for your help!

      We hope you enjoy the benefits of Cerebral X. Your order is scheduled to arrive by Nov 05,
      2017

      product image

      ORDER RECEIPT

      Order placed: Nov 03, 2017

      Total: $4. 95



      Cerebral X $0.00

      Vita Mood + $0.00

      Shipping & Handling: $4.95

      Total $4.95

      Terms & Conditions

       Privacy Policy

       Contact Us


                                                  PX4                             Lawhorn Att. E
                                                   80
Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18 \/ PageID.210
                                                           )         Page 81 of 158




      2017 © Cerebral X US

      By placing an order you will be enrolled in our membership program. This program will
      charge$ 4.95 today and$ 84.71 for your trial full-size product on the 15th day if you do
      not call to cancel the membership. You will receive a full-size bottle of the product for$
      84.71 (S&H included) every 30 days thereafter until you cancel. You can cancel or modify
      your membership anytime by calling +1-888-963-8460, Open 24 hours a day, 7 days a
      week. Product ships in 1-3 business days.




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      Lawhorn Attachment F




                                       PX4
                                        82
Case 3:18-cv-01388-LAB-WVG
                       ( ) Document 5-1 Filed 06/25/18 PageID.212 Page 83 of 158




      From: Nancy Lawhorn
      Sent: Friday, November 17, 2017 7:05 AM
      To: 'support@phenomhealth.com' <support@phenomhealth.com>
      Subject: FW: Re: Unauthorized charges




      Th"''""3 rd request for an

      answer
      From: Nancy Lawhorn
      Sent: Sunday, November 12, 2017 7:18 AM
      To: 'support@phenomhealth.com' <supoort@phenomhealth com>
      Subject: FW: Re: Unauthorized charges


      2nd request.



      From: Nancy Lawhorn
      Sent: Friday, November 10, 2017 6:18 AM
      To: 'support@phenomhealth.com' <support@ohenomhealth.com>
      Subject: RE: Re: Unauthorized charges

      What is the number of days that I have supposedly agreed to? Does my canceling of Cerebal X &
      Vita Mood assure that I will not be billed for either? I only pay shipping, right?? Do I need to return
      both bottles?? Today is my second day of taking. I feel no difference. They did cause me to feel
     very nauseous.


      From: support@phen om hea Ith .com [mailto:support@phenom health.com]
      Sent: Wednesday, November 8, 2017 7:58 AM

      Subject: RE: Re: Unauthorized charges



                                                       PX4                                 Lawhorn Att. F
                                                        83
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      Hello Ms. Lawhorn,

      Thank you for keeping in touch with us.

      We apologize for this inconvenience and we fully understand where you are coming from,
      but the shipping and handling fees are non-refundable.

      A risk-free trial offer allows you to try the product before buying it. Usually with these types
      of offers, you pay for the shipping charge, and have an agreed-upon number of days to try
      the product in your own home. You are then charged for the product, if you have not
      contacted the company before the trial's expiration date. "Trials" and "Risk-Free Trials" do
      not mean a "free product", and the sites we service do not advertise as such.

      If you have any other questions, please do not hesitate to contact us by calling us to our
      customer service telephone number or replying to this email message.

      Kind regards,

      Jenelou J.

      Phenom Health - Main Site

      Customer Service: +1-855-726-6311

      support@phenomhealth com



      From:

      Sent: 11/8/2017 9:03 PM

      To: support@phenomhealth com

      Subject: Re: Unauthorized charges

      This is a complaint that I have sent to The Federal Trade Commission regarding your
      company:

      The following is a receipt that I received for Cerebral X for shipping charges totaling $4.95.
      This company has charged an additional charge of $6.95 to my charge card for shipping on
      another product which I did not order. I have spoken with customer service 3 times now.
      They continually repeat "I'm so sorry to hear that, shipping charges are not refundable."
      They sound like robots. I think this is a scam and will return both bottles, unopened, which
      have been shipped to me per emails that I have received. I think you may want to know
      about this company's billing practices. An extra $6.95 from each customer adds up to a lot
      of extra money for this company. I will file a complaint with my charge card also as I am
      not getting anywhere at all with this company. Thank you in advance for your help!

      We hope you enjoy the benefits of Cerebral X. Your order is scheduled to arrive by Nov 05,
      2017

      product image

      ORDER RECEIPT

      Order placed: Nov 03, 2017
                                                   PX4                              Lawhorn Att. F
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                           (
Case 3:18-cv-01388-LAB-WVG) Document 5-1 Filed 06/25/18 PageID.214
                                                         )           (
                                                                   Page 85 of 158




      Total: $4.95



      Cerebral X $0.00

      Vita Mood + $0.00

      Shipping & Handling: $4.95

      Total $4.95

      Terms & Conditions

       Privacy Policy

       Contact Us

      2017 © Cerebral X US

      By placing an order you will be enrolled in our membership program. This program will
      charge$ 4.95 today and$ 84.71 for your trial full-size product on the 15th day if you do
      not call to cancel the membership. You will receive a full-size bottle of the product for$
      84. 71 (S&H included) every 30 days thereafter until you cancel. You can cancel or modify
      your membership anytime by calling +1-888-963-8460, Open 24 hours a day, 7 days a
      week. Product ships in 1-3 business days.




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                                                                            "




                                   DECLARATION OF LARRY MACK
                                    PURSUANT TO 28 U,S.C. § 1746

              1, Larry Mack, hereby declare as follows;

              I.     My name is Larry Mack. I am over eighteen years of age. I have personal

      knowledge of the facts stated in this declaration, and if called as a witness, I could and would

      competently testify to these same facts,

             2.      On or around July 4, 2016, I came across an advertisement for a product called

      ''Test X Core." To the best of my memory, I saw the advertisement in an email I received. This

      advettisement offered a free sample of the product and said tl1at I would pay only $4.95 for

      shipping and handling. Based on viewing the advertisement, I understood that the product was a

      nutritional supplement to boost muscle growth and enhance workouts. This interested me at the

      time, and given the low price, I clicked on the advertisement

             3.      I was taken to a website that offered Test X Core. The website featured the same

      $4.95 offer-I recall reading this was "all you pay." 1 decided to enter my address and payment

      information and ordered the sample on July 4, 2016.

             4.      Later that day, L checked my email. l found an order confirmation email for my

     order of Test X Core from the address support@phenomhealth.com. The first line of the email

     read, "Thank you for placing your order with Phenom Health!" Based on this message and the

     sender's email address, I understood that Phenom Health was the company from which I orderec!

     Test X Core. The email confirmed my order of" lx TestX Core 60ct" for $4.95. On December

      J 4, 2017, I forwarded this email to the Federal Trade Commission. A true and correct copy of

     this confirmation email is attached hereto as Mack Attachment A.

             5.     A few clays later, I received a package from Phenom Health containing a bottle of

     Test X Core. 1 never got around to trying the product; it sat there u110pened.



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                                                       86
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              6.     Around mid-August 2016, more than a month after ordering my sample, I

      Lmexpectedly received another package from Phenom Health. It contained another, unordered

      full size bottle of Test X Core. I was confused by this repeat shipment, and went back through

      my email to find the order confirmation l originally received from Phenom Health.

              7.     While reviewing the order confirmation email attached hereto as Mack

      Attachment A, I came across the following block of text at the very bottom of the email I had

      not previously noticed:

             lfyou made a trial order purchase, you've been automatically enrolled in our time-saving
             Delivery Program. At the end of your 15-day trial period your Visa ending xxxx will be
             charged the value of your trial order. Every 30 days thereafter, you'll be sent a refill order
             using your Visa on file. We offer a 30-day guarantee. Should you decide for any reason
             that you do not wish to keep the product, you may return it for a full refund, less the cost
             of shipping & handling, Return shipping is the responsibility of the customer.

      I had not seen any similar disclosure on the website before placing my order for a trial of Test X

     Core. I also had not seen this disclosure in reading through the confirmation email when I first

     received it. It was only after receiving this second hottle of Test X Core that I found this

     language at the bottom of the confirmation email.

             8.      l was shocked at the difference between this description and the original

     advertisement l saw online, and suspected it was behind the repeat shipment of Test X Core.

     After some research online, l found the customer service phone number 1-855-322-8780, and

     placed a call to Phenom Health.

             8.     I asked the representative I spoke with why I had received another bottle, when I

     simply ordered a trial sample. I was told that l made a "trial order purchase" of Test X Core and

     was "automatically" enrolled into their "auto delivery program." Additionally, the IS-day trial

     period for the original bottle had expired, meaning l would need to pay the full price for both




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      bottles: $178. l told this representative that the cost of the product and the subscription were not

      made clear to me when l ordered the trial. l asked to speak to a supervisor.

              9.      I was transforred to another representative, whose supervisory status and

      attiliation with Phenom Health were unclear to me. I explained my situation again. She told me

      that all she could do was offer a 50% refund for one of the two unordered bottles, or about $44,

      still leaving me at a $134 loss. l did not accept this offer, and asked if I could send both bottles

      back to the Colorado address they had shipped from for a full refund. The representative agreed

      to receive the package, but could not guarantee a full refund. I sent both bottles back shortly

      thereafter.

              I 0.   Approximately 3-4 days after I sent the package, l called the customer service line

      again to confirm they had received the two bottles. The representative l spoke with confirmed

      their receipt, but another reprnsentative on a subsequent phone call refused my refund because I

      had violated the warranty portion of the "Terms of Agreement." I asked where I could find the

     "Terms of Agreement." The representative pointed me to the "Terms and Conditions" page on

     the Phenom Health website. After this phone call, I visited this page. l found no mention of a

     trial order period, a warranty policy, or an auto enrollment program. It did not reflect the

     disclosure at the bottom of the order confitmation email. This discrepancy between the email and

     the Phenom Health website lies behind my purchase of Test X Core.

             11.     My credit card company only charged me the price of one full bottle, $89 .4 l, as l

     threatened to cancel my credit card to avoid repeat billing. I called Phenom Health back several

     times, spoke with two different representatives, and while I eventually accepted the $44.71

     refund, I never received an adequate resolution. l have not received any further charges from

     Phenom Health. On or around August 30, 2016, I received an email confirming the pattial




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      refund. On December 14, 2017, l forwarded this email to the Federal Trade Commission. A true

      and correct copy of this email is attached hereto as Mack Attachment B.

              12.      I have filed several complaints against Phcnom Health, including with the State of

      Colorado. After accounting for the partial refund from Phenom Health and my credit card

      company, l spent approximately $89.41 extricating myself from the hidden Phenom Health Test

      X Core subscription. I understood this to be a one-time $4.95 transaction to pay for shipping for

      a sample. I was infuriated by the deceptive business practices of Phenom Health, and also by the

      lack of assistance r received from many customer support representatives. r am a professor that

      teaches marketing, and it appears to me that this company breaks several fundamental rules of

      this practice.



      [ declare under penalty of perjury that the foregoing is true and correct.


      Executed on      2 ~ //               2018.




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                                                       89
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         Mack Attachment A




                                      PX5
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                                                          )         Page 91 of 158


      From:              Larry Mack
      To:                Al-Naijar Nathaniel
      Subject:           Fw: Order Confirmation
      Date:              Thursday, December 14, 2017 10:55:56 AM




            Sent: Monday, July 04, 2016 at 7:47 AM
            From: "TestX Cor  ." <sup
                                  . ort@phenomhealth.com>
                                      . . .
            To: 11 Larry Mack"
            Subject: Order Con irmatron




                                                  ORDER CONFIRMATION


              Hello Larry,

              Thank you for placing your order with Phenom Health! Our products are
              designed to help you achieve your body goals, and live in health and
              wellness. TestX Core can help to boost free testosterone levels, benefiting
                 all aspects of physical performance and stamina.




                 If at any time you have questions about your order, we're here to help.
                              Call us toll-free at 1-855-322-8780, or email us at
                                               support@phenomhealth.com.


                                                      YOUR ORDER

                  IQuantity I Items              I Order Date I Subtotal I Discount I Total I
                  I1        I 1x TestX Core 60ct I 7/4/2016 114.95 I 0              I~



                                               SHIPPING INFORMATION

                                                             PX5           Mack Attachment A
                                                               91
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                                                          \         Page 92 of 158

                                            Your order will ship to:

                                                  Larry Mack




                                                     -
                  Once your order has shipped, you will be notified with a shipping
             confirmation email, which will contain your order's USPS tracking number.



                              BILLING AND MEMBERSHIP DETAILS


                                      Your charge will appear on your
                                                  statement as
                                  VGM*berryskinnystore 877-538-1536


                                               Billing Address:

                                                    Larry Mack




                                                  --
                                                  -
           If you made a trial order purchase, you've been automatically enrolled in our time-saving
            Delivery Program. At the end of your 15-day trial period your Visa ending. will be
           charged the value of your trial order. Every 30 days thereafter, you'll be sent a refill order
           using your Visa on file. We offer a 30-day guarantee. Should you decide for any reason
           that you do not wish to keep the product, you may return it for a full refund, less the cost
                 of shipping & handling. Return shipping is the responsibility of the customer.




                      If you made a trial purchase, you can cancel your

                                                     PXS                          Mack Attachment A
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                       subscription easily online at any time!




                                Customer service: 1-855-322-8780
                               Email: support@phenomhealth com




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         Mack Attachment B




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                       (   Document 5-1 Filed 06/25/18 PageID.224
                                                        )         Page 95 of 158
                                                                          (
      From:             Larry Mack
      To:               Al~Naiiar   Nathaniel
      Subject:          Fw: Refund Confirmation
      Date:             Thursday, December 14, 2017 10:57:07 AM




            Sent: Tuesday, August 30, 2016 at 5:07 PM
            From: "TestX C o  <surii ort@
                                       i i ihenomhealth.com>
                                            iiii"
            To: "Larry Mack"
            Subject: Refund on irma ion




                                                REFUND CONFIRMATION


               Hello Larry,

               This email is to inform you that a refund for $44.71 was processed to your
               Visa ending i n • ·

               Please be advised that although the refund is completely processed on our
               end, it may take 5-10 business days for your bank to process and for the
               funds to be visible in your account.




                 Customer Service: 1-855-322-8780, Mon to Fri 5am-5pm PST and Sat
                        8am-4pm. Or, email us at support@phenomhealth.com




                                                             Sincerely,
                                                          Phenom Health




                                                            PX5               Mack Attachment B
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                           \   I                                  \   )




                          DECLARATION OF JERRY MCCALLUM
                             PURSUANT TO 28 U.S.C. § 1746

            I, Jerry McCallum, hereby declare as follows:

            1.     My name is Jerry McCallum. I live in Homewood, Illinois and am

      over eighteen years of age. I have personal knowledge of the facts stated in this

      declaration, and if called as a witness, l could and would competently testify to

      these same facts.

            2.     On or around March 22, 2017, I came across an advertisement on!ine

      for a free trial of the nutritional supplement "NO Max Shred." The advertisements

      described NO Max Shred as a "men's health supplement" that enhances workouts.

     The terms of the advertisement seemed to be clear: I needed to pay a $4.95

     shipping and handling fee, but the product was otherwise free. l thought this was a

     good offer, and clicked on the advertisement to place an order.

            3.    I was taken to a website that continued to present the "free trial offer"

     of NO Max Shred that I previously saw in the advertisement. While completing the

     checkout process on this website, an advertisement for another supplement, "TestX

     Core," appeared. According to this pop-up, this product would be included in my

     order at no additional cost. I consented, entered my biJ!ing and address and

     information, and placed an order for free trials ofTestX Core and NO Max Shred.

     Later that day, I received an email from the address support@phenomhealth.com

     with the subject line "Order Confirmation." The first sentence of this email


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      thanked me for placing my order of NO Max Shred with Phenom Health, which I

      now understood to be the seller of this supplement. This email also included a

      customer service phone number: 855-660-1956. On April 12, 2018, I forwarded

     this email to the Federal Trade Commission. A true and correct copy of this email

      is attached hereto as McCallum Attachment A.

            4.    On or around March 31, 2017, I received an email from

     support@phenomhealth.com with the subject line: "Your Order has shipped!" It

     provided a tracking number for my shipment of NO Max Shred. On April 12,

     2018, I forwarded this email to the Federal Trade Commission. A true and correct

     copy of this email is attached hereto as McCallum Attachment B.

            5.    Soon after receiving this shipping confirmation email, a package

     containing both products arrived. TestX Core and No Max Shred were contained in

     large, colorful bottles. I remember being slightly surprised by the size of the

     bottles, each containing 60 units of their respective products, because they did not

     appear "trial sized." I began taking TestX Core every day, and NO Max Shred

     before going to the gym. After about a week, I determined neither product had any

     noticeable effect, and stopped taking them. I took pictures of the TestX Core

     bottle, which are attached hereto as McCallum Attachment C.

           6.     On or around April 9, 2017, I checked my credit card statement. I

     noticed two mysterious charges: $89.41 on April 6, 2017, with billing descriptor



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      "HEALTH HUB ONLINE 800-3091431 CA," and $86.51 on April 9, 2017, with

      billing descriptor "thehealthyconsumer 844-3093880 NV." I believed these

      tmexpected charges to be affiliated with Phenom Health. A true and correct copy

      of my credit card statement for early April, 2017, is attached hereto as McCallum

      Attachment D. Certain financial information has been redacted from McCallum

      Attachment D.

            7.    I was shocked to discover these charges, so I found and placed a call

     to a Phenom Health customer service phone number. When I reached a

     representative, I was told that I was charged the full value of the two bottles I was

     sent. Phenom Health claimed that I was charged these amounts because I did not

     return them both within a 15-day timeframe, indicating to Phenom Health that I

     wished to keep them at over $80 a bottle. Additionally, the Phenom Health

     representative told me that I had been signed up for some kind of subscription to

     these products.

           8.     This was the first indication that I would be charged the full price of

     the trial offers, or that I was signed up for a subscription. I thought I only was

     purchasing a one-time trial of the two products, and that I would pay just the

     shipping and handling costs to receive them. 1 was angered by this news because

     Phenom Health billed me for $200 in charges it did not disclose to me for prodtlcts




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     that did not even work. Had I known of these charges beforehand, I never would

     have ordered these products.

             9.    I told the representative that I only agreed to purchase the trial at

     $4.95, and only agreed to include TestX Core because it was a free add-on. I

     requested a refund but was denied. I even warned the Phenom Health

     representative that I would complain about these deceptive business methods to the

     Better Business Bureau, but they were unmoved. I could tell that I was getting

     nowhere with the representative, and so I concluded this call. After this

     conversation, J resolved to cancel my account with Phenom Health to avoid any

     future charges from this unwanted subscription. On or around April 9, 2017, I

     completed my cancellation. I took screenshots of the cancellation confirmations for

     both TestX Core and NO Max Shred in the event of future charges from Phenom

     Health. I have not received further communications, products, or charges since

     then.

             10.   To date, I have been charged by Phenom Health $180.87, for what I

     thought was a $4.95 transaction. I have received no resolution or refund despite my

     complaints. When I looked up their rating with the Better Business Bureau, it did

     not surprise me to discover that Phenom Health maintains an "F" rating, clue to




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       deceptive sales practices for dubious products.



       I state under penalty of pe1jury that the foregoing statement is true and correct


      Executed on May      t,"5 , 2018.




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                               c)
      From:           NO Max Shred
      To:             Jerry McCa!!um
      Subject:        Order Confirmation
      Date:           Wednesday, March 22, 2017 12:55:47 PM




                                         ORDER CONFIRMATION


            Hello Jerry,

            Thank you for placing your order with Phenom Health! Our products are
            designed to help you achieve your body goals, and live in health and wellness.
            NO Max Shred can help you achieve phenomenal, focused workouts, by
            supporting muscle growth, strength, and performance.




              If at any time you have questions about your order, we're here to help.
                           Call us toll-free at 1-855-660-1956, or email us at
                                        support@phenomhealth.com



                                                  YOUR ORDER

                                                                Order
              Quantity Items                                              Subtotal Discount Total
                                                                Date
                       1x NO Max Shred - 60ct +
              1        1x Phenom Rewards                        3/22/2017 0.00     0        0.00
                       Display Box




                                         SHIPPING INFORMATION

                                               Your order will ship to:


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                                              Jerry McCallum




                                                    -
          Once your order has shipped, you will be notified with a shipping confirmation
                    email, which will contain your order's UPS tracking numbeL



                             BILLING AND MEMBERSHIP DETAILS


            Your charge will appear on your
                                                                        Billing Address:
                       statement as
                                                                            Jerry Mccallum




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          If you made a trial order purchase, you've been automatically enrolled in our time-saving
            Delivery Program. At the end of your 15-day trial period your Visa ending-will be
          charged the value of your trial order. Every 30 days thereafter, you'll be sent a refill order
         using your Visa on file. We offer a 30-day guarantee. Should you decide for any reason that
           you do not wish to keep the product, you may return it for a full refund, less the cost of
                 shipping & handling. Return shipping is the responsibility of the customer.




                     If you made a trial purchase, you can cancel your
                           subscription easily online at any time!




                                         Customer service: 1-855-660-1956
                                        Email: support@phenomhealth.com

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      From:               NO Max Shred
      To:                 Jerrv McCalh1m
      Subject:            Your Order Has Shipped!
      Date:               Friday, March 31, 2017 10:23: 18 AM




                                             SHIPPING CONFIRMATION


             Hello Jerry,

             Your shipment is on its· way! We hope you enjoy your Phenom Health order.




               If at any time you have questions about your order, we're here to help.
                              Call us toll-free at 1-855-660-1956, or email us at
                                             support@phenomhealth.com.



                                             TRACKING INFORMATION

                                 Shipment tracking number: 802269903037895253


                                                       TRACK MY ORDER




                                               SHIPPING INFORMATION


                           Order Items:
                                                                      Your order is on its way to:
            NO Max Shred
                             1                                               Jerry Mccallum
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            Phenom
            Rewards
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                 If you made a trial purchase, you can cancel your
                       subscription easily online at any time!




                              Customer seNice: 1-855-660-1956
                              Email: support@phenomhealth.com




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                                DECLARATION OF JANET POLLARD
                                  PURSUANT TO 28 U.S.C. § 1746

            I, Janet .PoJ!ard, hereby declare as follows:

             1.     My name is Janet Pollard. I am over eighteen years of age. I have personal

     knowledge of the facts stated in this declaration, and if called as a witness, I could and would

     competently testify to these same facts.

            2.      On or around March 3, 2017, I opened the Facebook application on my

     smartphone. While scrolling through the application, I found an article that claimed to offer free

     skincare products. The article claimed that Macy's department stores were going out of business

     and that skincare products at Macy's were being offered to customers for free, Customers need

     only pay shipping and handling to receive these free skincare products. The article contained a

     photo showing a Macy's store closing, and I had recently seen news stories about Macy's closing

     stores nationwide. Because I had seen these news stories about Macy's stores closing, I thought

     the product giveaways were true.

            3.      The article contained claims detailing why Macy's store closures could benefit

    consumers. The article stated that Macy's could not return its skincare products to

    manufacturers, and it hoped, at the very least, that customers who received free products would

    be satisfied and would return to buy futtU"e products at Macy's remaining brick and mortar stores.

    I assumed it would be a name-brand product. At the time, l believed that Mncy's owned and

    controlled the adve1tisement and webpage. A true and correct copy of the article, which I visited

    several weeks later to obtain screenshots, is attached hereto as Pollard Attachment A.

            4.     At the bottom of the article, I found a banner with a Macy's logo and a button that

    read "Order Now!" I clicked on the button.



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             5.     The "Order" button sent me to a short survey. The survey claimed to match my

     skin type to a product by asking four questions. I answered the questions, and I was taken to a

     checkout page for the skincare products. A true and correct copy of the first page of the survey,

     which I visited several weeks later to obtain screenshots, is attached hereto as Pollard

     Attachment B.

             6.     The checkout page asked me to input my payment, shipping, and contact

     information in order to receive two skincare products, selected according to the answers I had

     given in the survey. I use Pay Pal for online payments, so I gave the website my PayPal

     information and home address. I remember reading that I would only be charged $4. 95 for

     shipping and handling and that the product would be free.

            7.      Shortly atler I completed my order for the products, J received an email

     confirmation from Beauty & Tn1th. The email listed my order of"lx Erase Repair HA 30ml,"

     "Ix Beauty & Truth Samples," and the $4.95 shipping and handling charge. When I scrolled

     down the email, I found the shipping information that I submitted. Talso found billing

     information that stated that the charge would appear on my Pay Pal statement with the billing

     descriptor "DAP*exhi!aratedbody." A true and correct copy of the order confirmation email is

     attached hereto as Pollard Attachment C.

            8.     At the bottom of the order confirmation email I found the following text which l

     had not seen on the website when I was ordering:

                   If you made a trial order purchase, you've been automatically enrolled in our
                   time-saving Delivery Program. At the end of your 15-day trial period your
                   Mastercard ending 0953 will be charged the value of your trial order. Every 30
                   days thereafter, you'll be sent a refill order using your Mastercard on file. We
                   offer a 30-day guarantee. Should you decide for any reason that you do not wish
                   to keep the product, you may return it for a full refand, less the cost of shipping &
                   handling. Return shipping is the responsibility of the customer.

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              9.     I questioned how these terms would work in practice. l knew that it would take at

      least several days for mail to arrive and for it to send, if I wished to return the product. J also

     knew that J would not be able to sufficiently judge the product during the window of time

     remaining after shipping to and from my home, as the effects of skincare products do not

     normally take place inunediately.

              l 0.   After I saw this term, l called Beauty & Truth using the number listed in the email

     to complain about the added return condition. When I called, J was shufi1ed from answering

     machine to answering machine, and I failed to reach a representative. The recording directed me

     to press different numbers for purchasing respective products over the telephone, but there were

     no options for other help services. I called several times, and I tried several different patl1s on

     the automated menu, btit still I could not reach a representative. Finally, I sent an email to

     support@findheautyandtruth.com, which I found in the confirmation email, to complain about

     the surprise addition of the 15-day return policy. I also wrote in the email that r would like to

     speak to a customer service representative over the phone, and I was very frustrated by the lack

     of response.

             1 r.    ! continued calling the phone number listed on the confirmation email. I called at

     least seven times over the next several weeks, and I was unable to reach a representative.

            12.      About a week after making the order, I received a package from Beauty & Truth

    that contained two samples, one of"Erase/Repair HA" and another of "Renewing Serum CE."

    Each sample was attached to a full jar of the same product. The package contained additional

    terms, which were similar to those I found in the confirmation etuail. This did not seem like a

    free sample. l did not order full jars. Additionally, I worried that [would be required to retllfn

    the full products. A photo of the product packaging for Erase/Repair HA and Renewing Serum

    CE appears in a photo attached hereto as Pollard Attachment D.
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             13.     On or around the same day, I called Beauty & Truth at the same number I used

      previously, but this time I was able to reach a representative. The representative asked me if I

      would like to cancel my subscription. When l heard this, I was confused because I did not know

      that I had entered a subscription, I thought I had merely accepted a free product from Macy's; at

     worst, I thought I would have to return it to avoid being chatged. The representative informed

     me that in order to cancel, I needed to send back the products at my own cost. The

     representative warned me that, if I did not return the products, I would be charged the full cost of

     the products, about $97.81 each. I was very upset that Beauty & Truth had entered me into a

     subscription program without my knowledge, When I tlu'Catened to complain to the Better

     Business Bureau, my state representative, and the Missouri Attorney General, the Beauty &

     Truth representative said that I could keep the product and that they would reduce the charge to

     only $29.95.

             14.    On or around March 23, 2017, I followed up on the email I had sent to

     supp01i@findbeautyandtruth.com in order to memorialize that the charge would be reduced to

     $29.95. I was not happy with paying this amount, but I was frustrated with the company, and l

     wanted to cut ties. A true and correct copy of my email conversation with the Beauty & Truth

     Support Team, is attached hereto as Pollard Attachment E.

            15.     On or around March 24, 2017, I received a response from Beaitty & Truth

     customer support The representative stated that I would be charged $29, 95 for each product 1

    had been told by a representative over the phone that the entire reduced charge would be $29.95

    total, not $59.90 as they now indicated. I was charged $29,95 twice.

            16.     After the phone call, I researched Beauty & Truth on the Internet l found m:my

    complaints about the company, including a website dei;licated to warning consumers oftl1is


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      scam. It suggested that consumers cancel or change their credit cards after ordering products

      from Beauty & Truth.

              17.    Additio11ally. I found the origin;:il Macy's article, which had directed me to the

      survey and the order page of the Beauty & Truth samples. I took screenshots on my phone of the

      article and the first question of the survey, and they are attached hereto as Pollard Attachment

     A and Pollard Attachment B.

             18.     On or around the same day, I called Pay Pal to warn them of charges that might

     appear on my account. The Pay Pal representative advised me that after I filled out some

     paperwork, PayPal would begin its investigation. I gave PayPal the required documents, and in

     the meantime, PayPal assured me that it would place holds on any charges that it believed to be

     from Beauty & Truth.

             19.    After PayPal finished conducting its investigation, it refunded the Beauty & Truth

     charges on my account. Pay Pal also closed my account and opened a new one to ensure that

     Beauty & Truth did not smreptitiously charge me again.

            20.     My experience with Beauty & Truth has made me very wary of dealing with

     online companies. Now that I know what a scammer can do with my personal information, I am

     very hesitant to give any information to companies I do not know. Though I was lucky that

     PayPal refunded Beauty & Truth's fraudulent charges, I worry that others are not so lucky.

            I declare under penalty ofpe1:jury that the foregoing is true and correct.



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                  Macy's is Closing 68
                  Stores Nationwide -
                  Here's How YOU Can
                    Take Advantage
                                    News &Trends


                  ~ Anna Thomas Deals Blogger
                  'JI' February 15, 2017 · 554k Views



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                                 Source: Nerd Wallet


                  Macy's has just announced that about 1Oo/o
                  of its 730 stores will be closing across the
                  country, the first major announcement
                  regarding closing stores in the new year.
                  These 68 stores are part of the list of 100
                  stores Macy's announced for closure mid last
                  year. The mega-retailer hopes to revamp
                  their online retail strategy and focus on
                  Macy's Backstage in an effort to salvage the
                  recent years of declining sales. To date, 3 of
                  the 68 stores have already closed. The
                  remaining stores will close by the end of the
                  year.

                  Some of you may be sad to see your local
                  Macy's close down, but the rest of you are
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Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18 ( PageID.250
                                                          )         Page 121 of 158


             (                         cosmopolit ... zines.click                                         SHARE

                  Macy's close down, but the rest of you are
                  probably wondering: "Will this benefit me in
                  any way?" The answer to that question is an
                  absolute "YES!" On top of the final blowout
                  sales that are going to be held at each of the
                  closing locations, Macy's cosmetics
                  department is offering FREE SAMPLES of
                  their skin care products. Unlike clothing and
                  appliances, cosmetics are difficult to sell off,
                  so they have decided to give away some of
                  the products at their closing stores in hopes
                  that you will repurchase the same product,
                  either from another Macy's store or from their
                  online store. With Macy's shifting their focus
                  to their online presence, the best part about
                  this offer is that you don't have to go and pick
                  up the product in person - you can just order
                  it from right where you are!

                  The terms of this deal are simple. Based on
                  the answers you give to their 4 simple skin
                  care questions, the cosmetics department
                  will determine a product that most fits your
                  ____ __._   n_•. ---•~. --· .:-..- d'>L .i: ........... 1-: ........ :.__ ........ . _111
                                                         PX 7                                Pollard Attachment A
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Case 3:18-cv-01388-LAB-WVG
                         ) Document 5-1 Filed 06/25/18 PageID.251 Page 122 of 158( )
            (                   cosmopolit ... zines.click                                           SHARE

                 at any time.

                 I just ordered my sample, and if I were you,
                 I'd do the same before it's too late! Their loss
                 is our gain :p
                                                                                                     ,
                 ,,                                                                                  ,,
                 /,




                 l*~-i---~1
                 i Cosmetics Giveaway
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                                                Anna
                                           Thomas
                                Anna Thomas is a seasoned writer and
                                                 PX 7                                Pollard Attachment A
                                                  122
                        ( ' Document 5-1 Filed 06/25/18 (.··I,
Case 3:18-cv-01388-LAB-WVG
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                                                           PageID.252 Page 123 of 158




         Pollard Attachtnent B




                                        PX7
                                        123
Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18( PageID.253 Page 124 of 158
                        ()




                         ANSWER ALL 4 QUESTIONS

               AND GET REWARDS DELIVERED TO YOUR
                            HOME/




                         Question 1 of 4: Select Your
                                  Gender


             In beach.
                   11
                                                   Share Quote
                                       PX7               Pollard Attachment B
                                        124
Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18 PageID.254 Page 125 of 158
                      ( )                             ( )




         Pollard Attachtnent C




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                                      125
                                                                            ()
Case 3:18-cv-01388-LAB-WVG Document 5-1 Filed 06/25/18 PageID.255 Page 126 of 158
                                ( )
      From:
      To:              Harshbarger Tate
     Subject:          Fwd: Order Confirmation
      Date:            Wednesday, June 21, 2017 11:58:16 AM


     This is the email I received from them after they had my credit card information. This is the
     first that I knew that I wasn't getting free makeup products and that I would have to pay for the
     products and that it was a subscription. I did receive an email that my subscription was
     cancelled, but noting happened until I called Pay Pal and they started an investigation and sent
     me a new card with a new account number.

     ---------- Forwarded message ----------
     From: Beauty & Truth <support@findbea11tyandtruth.com>
     Date: Fri, Mar 3, 2017 at 9:58 AM
     Subject: Order Confirmation
     To: Janet Pollard~>




                                          ORDER CONFIRMATION


          Hello Janet,

          Thank you for placing your order with Beauty & Truth! We hope you'll love our
          skin care products as much as our products love your skin.




              If at any time you have questions about your order, we're always here to
                    help, 24/7. Call us toll-free at 1-866-710-5109, or email us at
                                     support@findbeautyandtruth.com.




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          I           111 x Erase Repair HA 30ml              I         I        I       In
                                                              PX7            Pollard Attachment C
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Case 3:18-cv-01388-LAB-WVG  Document 5-1 Filed 06/25/18 I PageID.256 Page 127 of 158
                              \    )                                         \




         LJ            + 1x Beauty & Truth
                       Samples




                                       SHIPPING INFORMATION

                                           Your order will ship to:

                                                Janet Pollard




          Once your order has shipped, you will be notified with a shipping confirmation
                    email, which will contain your order's USPS tracking number.



                              BILLING AND MEMBERSHIP DETAILS


            Your charge will appear on your
                                                                        Billing Address:
                       statement as
                                                                           Janet Pollard




                                                                           --
          If you made a trial order purchase, you've been automatically enrolled in our time-saving
         Delivery Program. At the end of your 15-day trial period your Mastercard ending. will
         be charged the value of your trial order. Every 30 days thereafter, you'll be sent a refill order
           using your Mastercard on file. We offer a 30-day guarantee. Should you decide for any
         reason that you do not wish to keep the product, you may return it for a full refund, less the
              cost of shipping & handling. Return shipping is the responsibility of the customer.


                                                      PX7                        Pollard Attachment C
                                                      127
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                        (  Document 5-1 Filed 06/25/18 PageID.257 Page 128 of 158
                                                                     (




                 If you made a trial purchase, you can cancel your
                       subscription easily online at any time!




                               Customer service: 1-866-710-5109
                                     Open 24 hours a day,
                                        7 days a week
                             Email: support@findbeautyandtruth.com
                                  www.mybeautyandtruth.com




                                            PX7                          Pollard Attachment C
                                             128
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                        ( \ Document 5-1 Filed 06/25/18 (PageID.258
                                                           \        Page 129 of 158
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         Pollard Attachment D




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                                       PX7              Pollard Attachment D
                                       130
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         Pollard Attachtnent E




                                      PX7
                                      131
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                        ( I Document 5-1 Filed 06/25/18 PageID.261 Page 132 of 158
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      From:
      To:                Harshbaraer Tate
      Subject:           Emails from Janet Pollard
      Date:              Wednesday, June 21, 2017 11:50:01 AM


      Shipment

      jsrdpollard -~                                                                        Sat. Mar 25, 2017 at I 0:20 PM
      To: supportrc"{)findbcautyandtrnth coin

        I sure would love to talk to someone. You said if! want to talk I should call. 1-866-710-5109. Which I did
        yesterday and again today. This is really really becoming tiring. I would like you to try calling this number and
        see what you results you get. It's nothing except ordering and press 1 or press 2. I've already filed a complaint
        with St Louis BBB and would like to clear this up. Yesterday day I contacted my MO State representation and I
        really don't want to go any further. Pay Pal contacted me yesterday about Fraud charges. I haven't done this yet,
        but if they are willing to step in on my behalf then so be it. My only other recourse is having my MO
        REPRESENTATIVE getting me in touch with MO Attorney General. One more time I would like to tell you I
        want to talk to a human being in customer suppo1t instead of an endless round of asking me to press numbers to
        order your products. I ordered free facial creams which your ad was misleading to say the least. I never entered
        in to a subscription service. I never ordered any product that came \.Yith my FREE samples.
        On Fri, Mar 24, 2017 at 3: 12 PM <suppor11£llfindheuq1vand1n1th con1> wrote:

          Hello Ms. Pollard,

          Thank you for keeping in touch with us!

          If you want to talk to the customer service please call 1-866-710-5109 we are open 24/7

          If you have any other questions, please don't hesitate to contact us by calling us to
          our customer service telephone number or replying to this email message.

          Kind regards,

          Anamae D.

          Beauty & Truth Customer Support Team

          US: 1-866-710-5109

          UK: +44 10\845 528 1257

          su pport@fi ndbeautyandtruth .com



          From:

          Sent: 3/24/2017 7:59 AM
          To: support@findbeautyandtruth com

          Subject: Re: Re: Re: Re: Shipment
          Why am I being charged for 2purchases after an email received a few minutes ago I
          received an email that you are crediting my account. I WANT A TELEPHONE NUMBER
          AND EXTENSION NUMBER IF NEEDED SO I CAN TALK TO SOMEONE (A HUMAN)
          ABOUT ALL THESE CONTINUOUS BACK AND FORTH EMAILS. I WANT TO HAVE A
          CONVERSATION WITH SOMEONE WHO WILL BE AVAILABLE TODAY 3/24 2017 - at
          4:00 - 4: 15. Thank you - Looking forward to our conversation.

                                                                PX7                        Pollard Attachment E
                                                                132
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         On Fri, Mar 24, 2017 at 8:41 AM< support@findbeautyandtruth.com> wrote:

         Hello Ms. Pollard,

         Thank you for keeping in touch with us!

         We would like to inform you that your account has charge $29.95 each product to
         keep that you didn't need to return it back to us.

         If you have any other question about our service don't hesitate to contact us by calling
         us to our customer service telephone number or answering this email message.

         Best Regards,

         Aljhon C.

         Beauty & Truth Customer Support

         US: 1-866-710-5109

         UK: +44 (0)845 528 1257

         support@findbeautyandtruth.com



         From:



        'Sent:

         3/23/2017 5: 00 PM

         To:

         support@lfindbeau\yandtruth.com

         Subject:

         Re: Re: Re: Shipment

          Good afternoon, this is Janet Pollard trying to get in touch with you again one more
         time. I tried calling the customer service number today and I could never reach
         anyone to talk to. All I could get was a recording asking me to punch number one or
         number two in order to purchase more product. I want to get this straight. I can end
         this whole transaction by paying $29.95. That means no other charges for taxes or
         shipping. I'm ready to be done with all this running around. I did notice that your
         company is in St. Louis Missouri. I wonder if you're listed under the better business
         bureau. I am so ready to contact my congressman in Jefferson City along with Missouri
         is Attorney General. It will be no problem to contact my congressman since he lives in
         the same town I do. It's hard for me to believe that a company doing business in
         Missouri would try to trick people into making a purchase by including in their ad
         deceiving marketing. I would appreciate hearing from your company either by email or
         phone call a t - . In order to be done with this transaction I will pay the
          $29.95 and ~ges added to that. I still in my heart believe you deceived
         me and I have all the documentation about this ad including pictures. Thank you and I
         look forward to hearing From you one way or another. One last question, how would
         a person be able to talk to customer service any other way than what I did
         today? Janet Pollard
                                                   PX7                   Pollard Attachment E
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                        ( ) Document 5-1 Filed 06/25/18 PageID.263 Page 134 of 158
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         On Thu, Mar 9, 2017 at 10:21 AM<

         support@findbeautyandtruth com

         > wrote:

         Hi Ms. Pollard,

         Thank you for keeping in touch with us!

         Yes, you have 14 days to evaluate the products and determine whether you will pay
         for them and continue with the membership program or to return them between the
         trial to avoid extra charges.

         And you have also 14 days for the product to arrive to the warehouse to avoid extra
         charges.                                                                          ·

         If you have any other questions, please don't hesitate to contact us by calling us to
         our customer service telephone number or replying to this email message.

         Kindly Regards,

         Racquel F.

         Beauty & Truth Customer Support Team

         US: 1-866-710-5109

         UK: +44 (Ol845 528 1257

         support@findbeautyandtruth.com



         From:



         Sent:
         3/8/2017 5:15 PM

         To:

         support@findbeautyandtruth.com

         Subject:
         Re: Re: Shipment

         Ok you are telling me I have 14 days to try the product in one sentence AND further
         down in your email you state that if returning the product it must arrive in 14 days to
         the warehouse. Are we talking about the same 14 day time frame. If so the
         statements kinda conflict with each other. Would I have 14 days to get the product to
         your warehouse after the 14 day trial?

         Janet Pollard

         On Wed, Mar 8, 2017 at 10:55 AM,<

         support@findbeautyandtruth.com

                                                   PX7                     Pollard Attachment E
                                                   134
                                                             '
                        ( ) Document 5-1 Filed 06/25/18 I( PageID.264
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        i   >wrote:




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                                 DECLARATION OF SHAWN ULMER
                                   PURSUANT TO 28 U.S.C. § 1746

             I, Shawn Ulmer, hereby declare as follows:

             I.     My name is Shawn Ulmer. I am over eighteen years of age. I have personal

     knowledge of the facts stated in this declaration, and if called as a witness, I could and would

     competently testify to these same facts.

            2.      On or about January 22, 2018, I was on my computer and saw an advertisement

     for a free trial of two products - TestXCore and NoMaxShred. I clicked on the advertisement. I

     was directed to another website that asked for my address and credit card information to receive

     my free trial. I filled out this information and placed my order for the free trial of the two

     products with the understanding that l was providing my credit card information only for

     package protection insurance for the two products in the amounts of$4.95 and $5.95.

             3.      Upon completion of my order, I received an email confirmation. A true and

     correct copy of the confirmation for NoMaxShred is attached hereto as Ulmer Attachment A. It

     was on the email confirmation that I saw for the first time that I would be charged the full price

     of the product if I did not cancel within 15 days, and that I had been enrolled in a subscription

     program where I would receive additional product and be charged full price for the product every

     30 days.

            4.      I emailed customer service at support@phenomhealth.com on January 28, 2018,

     requesting that they cancel my order and refund me the package protection fees of$4.95 and

     $5.95. A true and correct copy of my credit card statement showing the shipping and handling

     fees is attached hereto as Ulmer Attachment B. Phenom Health responded that they would

     cancel my order, but would not refund me the package protection fees. A true and correct copy

     of my cancellation request and email exchange is attached hereto as Ulmer Attachment C.

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                                                     136
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            5.        I responded that they had not actually shipped me any product and, therefore,

     were not entitled to charge me anything for package protection. The customer service

     representative refused to give me a refund for the package protection fees.

            6.        Because Phenom Health customer service refused to refund me the package

     protection fees, I lodged a complaint with the Denver Better Business Bureau.

            7.        The Denver BBB was successful in obtaining refunds for the shipping and

     handling fees.

            8.        At no point during my initial order did I see a notice telling me that I would be

     charged the full purchase price of the product if I did not cancel within a certain number days.

            9.        At no point during my purchase did 1see a notice telling me that I was enrolling

     in a subscription service for the product.

             10.      I believe it is unfair for Phenom Health to charge me for package protection when

     they never shipped me any product.

     I dedare under penalty of perjury that the foregoing is true and correct.




                                                     PXS
                                                     137
                       (
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       . Ultner Attachtnent A




                                       PX8
                                       138
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             To: "Shawn Ulmer"
             Sent: Mon, Jan 22, 2018 at 10:25 AM
             Sub ect: Order Confirmation




                                            ORDER CONFIRMATION


               Hello Shawn,

               Thank you for placing your order with Phenom Health! Our products are
               designed to help you achieve your body goals, and live in health and
               wellness. NO Max Shred can help you achieve phenomenal, focused
               workouts, by supporting muscle growth, strength, and performance.




                If at any time you have questions about your order, we're here to help.
                             Call us toll-free at 1-855-4160-1956, or email us at
                                           support@phenomhealth.com.


                                                     YOUR ORDER
                                             Free 16-day trial of NO Max Shred: $0
                  ProlectPackage™ shipping coverage: $5.95 (If previously selected at checkout. II this was not
                          selected, you can still add It to your order by phoning or replying to this email).




                                                          PXS                                Ulmer Attachment A
                                                          139
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                                      SHIPPING INFORMATION

                 Your ProtectPackage ™ coverage provides a shipping guarantee against
                 loss, damage and theft. If your parcel is lost, damaged or stolen while in
                           transit you can lodge a claim directly on our website
                         www.protectpackage.com or by calling 1-844-230-6673.

                                          Your order will ship to:

                                              Shawn Ulmer




                     Once your order has shipped, you will be notified with a shipping
                 confirmation email, which will contain your order's UPS tracking number.



                               BILLING AND MEMBERSHIP DETAILS


                                     Your charge will appear on your
                                              statement as
                                      orlglnalhealth (888) 406-0593


                                             Biiiing Address:

                                                Shawn Ulmer




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                                                 PX8                        Ulmer Attachment A
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               If you made a trial order purchase, you've been automatically enrolled in our time-saving
               Delivery Program. At the end of your 15-day trial period your Mastercard ending 3266 will
                be charged the value of your trial order. Every 30 days thereafter, you'll be sent a refill
               order using your Mastercard on file. We offer a 30-day guarantee. Should you decide for
                any reason that you do not wish to keep the product, you may return it for a full refund,
               less the cost of shipping & handling. Return shipping is the responsibility of the customer.




                                             Customer service: 1-855-660M1956
                                             Email: •upport@phenomh.,.lih.com




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           Uliner Attachment B




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    World Mastercard                                                              E•            2018 summary




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          Ultner Attachment C




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                                       144
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                                                        I         Page 145 of 158




        From: "Shawn Ulmer"
        To: "support@phenomhealth.com" <support@phenomhealth.com>
        Sent: Fri, Feb 2, 2018 at 2:39 PM
        Subject: RE: Re: Cancellation Confirmation
        I will be sure to give you an extremely bad review an alert the Better Business Bureau of
        your lack oftransparency!!!!




        Sent from Yahoo Mail on Android

        On Fri, Feb 2, 2018 at 2:33 PM, support@phenomhealth.com
        <support@phenomhealth.com> wrote:


           Hi Mr. Ulmer,

           Thank you for your email.

           We would like to let you know that the shipping and handling fee is not refundable
           and a one time charge only.

           If you have any other questions or concerns, please do not hesitate to contact us.
           Best Regards,

           Romar D.

           Phenom Health Customer Support

           Customer Service US: 1-855-322-8780

           Customer Service UK: +44-330-808-0626

           support@phenomhealth.com



           From:

           Sent: 2/3/2018 4:28 AM
           To: support@phenomhealth.com

           Subject: Re: Cancellation Confirmation
                                                  PX8                       Ulmer Attachment C
                                                  145
                                                                      .   \,
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                                                          !         Page 146 of 158




           When will my credits show up for shipping charges?

           Sent from Yahoo Mail on Android

           On Sun, Jan 28, 2018 at 9:20 PM, TestX Core<support@phenomhealth.com> wrote:

           #yiv2669622862 . yiv2669622862Externa1Class {width: 100%;}

           #yiv2669622862 . yiv2669622862Externa1Class, #yiv2669622862
           .yiv2669622862Externa1Class p, #yiv2669622862 .yiv2669622862Externa1Class
           span, #yiv2669622862 .yiv2669622862Externa1Class font, #yiv2669622862
           .yiv2669622862Externa1Class td, #yiv2669622862 .yiv2669622862Externa1Class div
           {line-height: 100%;}

           Bl
           CANCELLATION CONFIRMATION

           Hello Shawn,

           This email confirms the cancellation of your TestX Core refill subscription. For your
           records, your cancellation code is: OeCQrR.

           We're sorry to see you go! If you change your mind, or would like to order products
           individually without a subscription, please don't hesitate to call!

           Call us toll-free at 1-855-322-8780, email us at s1mport@phenomhealth.com .

           Customer Service Hours: Mon to Fri 5am-5pm PST and Sat 8am-4pm.

           WE'RE SORRY TO SEE YOU GO!

           Sincerely,

           Phenom Health




                                                PX8                        Ulmer Attachment C
                                                146
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                           DECLARATION OF JOHN MCCRANER
                              PURSUANT TO 28 U.S.C. § 1746

             T, John McCraner, hereby declare as follows:

             1.    My name is John McCraner. I live in Denver, Colorado, and am over

      eighteen years of age. I have personal knowledge of the facts stated in this

      declaration, and if called as a witness, I could and would competently testify to

      these same facts.

            2.     On or around March 26, 2017, r was scrolling through the social

      media website Facebook, when r came across an ad for a supplement that claimed

      to boost intelligence. This ad included an image of physicist Stephen Hawking

      within the graphics of news outlet CNN, as if he were giving an interview. I do not

      recall the exact words used in the advertisement, but I understood from looking at

      it that Mr. Hawking used these pills for an intellectual boost. I decided to click on

      the advertisement.

            3.     I was taken from Facebook to a separate website which included

      additional information about the supplement. The intelligence supplement was

     named "Synagen IQ," and I was offered a "free sample bottle" of the product by

     paying a small shipping fee of around six to eight dollars. Given the low price, 1

     decided to order the sample. Before reaching the checkout page on the website, a

     pop-up advertisement for another product called "Bioslim Burn" appeared, which

     seemed to be a nutritional supplement to promote weight loss. I did not want this


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      product, but I could not find a way to continue with my order of Synagen IQ

      without adding Bioslim Burn to my virtual shopping cart. After spending some

      time trying to bypass adding Bioslim to my order, I gave up. 1 entered my credit

      card and billing infomrntion, and ordered my free trial bottle of Synagen IQ,

      expecting also to receive Bioslim at no additional cost.

            4.     Later that day, I received an "order confirmation" email concerning

      my shipment of Synagen IQ. I spent some time reviewing this email to catch

      anything unexpected. Sure enough, towards the very bottom of this email I found a

      paragraph of text indicating that I would be charged the full price for my current

      order if I decided to keep it and that I had been enrolled in a subscription and

      would be charged monthly for the product. I was frustrated that this was the first

      time I became aware of either of these two conditions of my order.

            5.     On or around March 27, 2017, I contacted Synagen IQ to cancel rny

      account, prevent any further shipments of these nutritional supplements, and

      request a full refltnd. Later on March 27, 2017, I received an email that appeared to

      be from a Synagen IQ customer service representative using the address

      support@synageniq.com. In that email, the customer service representative

      instructed me to return the products to "Synagen IQ Returns, 14603 East Moncrieff

      Place, STE l 00, Amora, CO 80011." I noticed that this email was signed

      "Sincerely, Phenom Health." A true and correct copy of my email conversation



                                               PX9
                                               148
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      with support@synageniq.com is attached hereto as McCraner Attachment A. At

      some point during my interaction with Synagen IQ customer service, I was told

      that T would receive half ($19 .36) of the refund immediately, and the other half

      when the products were returned, but that once the products were returned, it

      would take three weeks to process the second half of my refi.md.

            6.     On or around March 28, 2017, two charges appeared on my credit

      card statement that I believe were associated with my order of Synagen IQ. The

      first, in the amount of $6.95, appeared to be the shipping and handling charge I

      agreed to. A second charge, in the amount of$38.71, appeared to be the

      unanticipated "full price" of Synagen IQ. The billing descriptor on both charges

      reads "NLD*NEWLIVINGDIET."

            7.    Within a week of my initial order, I received a package. I noticed that

      the return shipping address on the box was in Aurora, Colorado, which is relatively

      close to where I live. The box contained two bottles branded with colorful labels.

     As expected, one was named Synagen IQ, and the other Bioslim Burn. I did not try

     either product because I wished to immediately return them for a full refund.

            8.    Given that I live close to the Aurora, Colorado return address listed in

     my communications with support@synageniq.com, I decided to return the package

     in person. Within a week of receiving the package, I drove to the Aurora location,

     and found a warehouse at that address. I approached the front door and tried to



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      open it, but it was locked. After ringing the doorbell, a woman answered, and I

      explained that I was here to return a package to Phenom Health. She explained that

      the warehouse belongs to a company that does shipping and receiving logistics for

      several companies, including Phenom Health. I asked her if she processed many

      returns of Phenom Health products, and she said yes. This woman agreed to take

      the package, and provided me with a receipt to confirm the package was back in

      their possession.

            9.     On or around April 25, 2017, roughly three weeks after I returned the

      products to the warehouse, I responded to an earlier email from

      suppo1t@synageniq.com asking about the status of my refund. "Meg," a customer

      support representative, told me that they were still waiting for the returned product

      to arrive. I replied that I returned it to the address in person, which Meg said was

      unacceptable. See McCraner Att. A. After some back and forth with

      suppo1t@synageniq.com, I became very frustrated, and decided to call the

      customer support phone number l-844-465-0024.

            10.    The first representative I spoke with reiterated that they hadn't

      received the package, and couldn't complete my refund until this occurred. I

     imagine that few Phenom Heath customers return their products in person, and this

     representative eventually decided to pass me on to a supervisor. I had a brief

     conversation with the supervisor, where I made clear how upset I was with their



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      deceptive subscription process and onerous, hidden return requirements. Instead of

      defending their practices, this supervisor said he would "oven-ule" their policies,

      and approve my full refund.

            11.    Although I eventually received a full refund for my purchase of

      Synagen IQ, it required about a month of effort, and repeated communications with

      unhelpful customer service representatives.


      I state under penalty of perjury that the foregoing statement is true and correct.


      Executed on Jw1e. <"/!K20!8.



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                                                    McCraner




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      From:              JOHN MCCRANER
      To:                Al-Najjar Nathaniel
      Subject:           Fw: [Support] Re: Re: Return Merchandise Authorization
      Date:              Wednesday, May 02, 2018 7:55:50 PM


      Nate,

      Sorry I just forgot to send this, my sincerest apologies.




      -
      lliMll:IQ•liM
      John P. McCraner



      On Wednesday, April 26, 2017 7:08 PM, Mary (Support) <support@infocu5support.zendesk.com> wrote:




        ##-Please type your reply above this line-##
       Your request (89828) has been updated. To add additional comments, reply to this email.



                      Mary (Support)
                      Apr 26, 6:08 PIVI PDT


                      Hello John,


                      Thank you for keeping in touch with us!


                      Our systems shows that we' re still waiting for the returned product to be
                      delivered. I apologize for the frustration, without the tracking information
                      we will have to wait until the returned package is checked into the
                      warehouse to issue the remaining of your refund of $19.35, if it shows
                      delivered within 30 days from the bill date of 3/26/17.


                      If you have any other questions, please don't hesitate to contact us by
                      calling our custome·r service telephone number.

                      Best Regards,

                      Meg
                      Synagen IQ
                      1-844-465-0024
                      (s u pport@synagen iq. com)



                      JOHN MCCRANER
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                Please check with the warehouse that you directed me to:I returned it here.
                Synagen IQ Returns BioSlim Burn Returns 14603 East Moncrieff Place, STE
                100 Aurora, CO 80011
                I returned it too them with all the return codes you sent me, do some
                investigation ask these people.Please do that for me.
                This was well over 3 weeks ago, you already returned the first $19.97 so I
                know you have all the information you need.
                Thank you,
                John P. McCraner



                On Wednesday, April 26, 2017 2:17 PM, Mary (Support)
                <support@infocu5support.zendesk.com > wrote:

                #yiv43 72954906 table td {border-collapse:collapse;}#yiv4372954906 body
                .yiv43 7 2 9 5 4906filtered99999 .yiv4 3 72 9 54 906di rectional_text_wrapper
                {direction:rtl;unicode-bidi:embed;}



           [g : Mary (Support)
                Apr 26, I :17 PM PDT


                Hello John,


                Thank you for keeping in touch with us!

                I apologize for the frustration, without the tracking information we will have
                to wait until the returned package is checked into the warehouse to issue
                the remaining of your refund of $19.35, if it shows delivered within 30 days
                from the bill date of 3/26/17.

                If you have any other questions, or if there is anything additional we can
                help you with at this time, please don't hesitate to contact us.

                Best Regards,

                Michelle
                Synagen IQ
                1-844-465-0024
                (support@synageniq com)
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               JOHN MCCRANER



               Excuse me, I returned them to the address you asked me to return them
               too, so don't tell me you can't except them, that is BULL SHIT!
               It's the same difference whether I sent them by mail or hand delivered them
               to the same address, so you best get your shit together and get my return
               or hell will be paid , trust me.
               You fucked with the wrong guy Mary from support!!!!
                Thank you,
               John P. McCraner



               On Tuesday, April 25, 2017 9:09 PM, Mary (Support)
                <support@infocu5support.zendesk.com > wrote:

               #yiv21 93 762 5 51 table td {border-collapse:collapse;J#yiv2193762 5 51 body
               .filtered99999 .yiv2 l 9376255 l directionaUext_wrapper
               {direction: rtl; u n icode-bid i :em bed;}



               Mary (Support)
               Apr 25, 8:09 PM PDT


               Hello John,


               Thank you for keeping in touch with us!

               We do apologize, we do not accept personal deliveries. The products must
               be mailed to be eligible for return.

               If you have any other questions, or if there is anything additional we can
               help you with at this time, please don't hesitate to contact us.

               Best Regards,

               Meg
               Synagen IQ
               1-844-465-0024
               (su pport@synagen iq .com)



               JOHN MCCRANER                       PX9            McCraner Attachment A
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                As I stated, I took it back to your 3rd party shipper DIRECTLY!!! with all the
                information in the attached e-mai as you instructed,

                You find it! Their is no tracking number.
                Thank you,
                John P. McCraner



                On Tuesday, April 25, 2017 8:58 PM, Mary (Support)
                <s u pport@i n focu 5support. zendesk. com> wrote:

                #yiv8723005 l 54 table td {border-collapse:collapse;}#yiv87230051 54 body
                .filtered99999 .yiv872 30051 54directional_text_wrapper
                {direction: rtl; u n icode-bi di: em bed;}



                Mary (Support)
                Apr 25, 7:58 PM PDT

                Hello John,


                Thank you for keeping in touch with us!


                Our systems shows that we, re still waiting for the returned product to be
                delivered. If you have a tracking number for the return, please provide it,
                and we will be happy to check the status.


                If you have any other questions, please don't hesitate to contact us by
                calling our customer service telephone number.

                Best Regards,

                Meg
                Synagen IQ
                1-844-465-0024
                (su pport@synag en iq.com)




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                So where is my return?
                I personally took my BioBurn and synagen to your 3rd party shipper along
                with all my return codes as per your instructions and haven't seen anything.
                Can you look into this ASAP, I know it takes 3 weeks according to what you
                sai n and it is now at 3 weeks.
                Let me know,
                Thank you,
               John P. McCraner



                On Monday, March 27, 2017 11 :52 AM, Synagen IQ
                <s11pport@synageniq.com> wrote:

                #yiv5181843305 .yivS 181843305Externa1Class
               {width: 100%;}#yiv5181 843305 .yiv51 81 843305Externa1Class,
                #yiv5181843305 .yiv5181843305Externa1Class p, #yiv5181843305
                .yiv5181843305Externa1Class span, #yiv5181843305
                .yiv5181843305Externa1Class font, #yiv5181843305
                                       '
                .yiv5181843305Externa1Class td, #yiv5181843305
                .yiv5181843305Externa1Class div {line-height:l 00%;}




                II




                I RETURN MERCHANDISE AUTHORIZATION I
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                I Hello John, I
                I Here is the RMA (return merchandise authorization) number you
                requested: 5TEDS4. I
                I Your return must be accompanied by this RMA number, as well as the
                packing slip that was included with your order. I
                I Including the correct packing slip ensures you will receive your refund or
                exchange. I
                I If you do not have the packing slip, please be sure to write the RMA and
                your name and address very clearly on the package. I
                I Mail to:
                Synagen IQ Returns
                14603 East Moncrieff Place, STE 100
                Aurora, CO 80011? I




                I Customer Service: 1-844-465-0024 (5am-5pm PST M-F, 5am-4pm PST
                Sat), or email us at support@synageniq.com I




                I Sincerely,
                Phenom Health I


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